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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

CALLWAVE COMMUNICATIONS, LLC,               )
                                            )
            Plaintiff,                      )
                                            )
v.                                          )
                                                 C.A. No. 12-1701-RGA
                                            )
AT&T INC., AT&T MOBILITY, LLC, and          )
GOOGLE INC.,                                )
                                            )
            Defendants.
                                            )
                                            )
CALLWAVE COMMUNICATIONS, LLC,
                                            )
            Plaintiff,                      )
                                            )
v.                                          )
                                                 C.A. No. 12-1702-RGA
                                            )
SPRINT SPECTRUM L.P., SPRINT                )
COMMUNICATIONS COMPANY L.P., and            )
GOOGLE INC.,                                )
                                            )
            Defendants.                     )
                                            )
CALLWAVE COMMUNICATIONS, LLC,
                                            )
            Plaintiff,                      )
                                            )
v.                                          )
                                                 C.A. No. 12-1704-RGA
                                            )
VERIZON SERVICES CORP., CELLCO              )
PARTNERSHIP, D/B/A VERIZON                  )
WIRELESS, and GOOGLE INC.,                  )
                                            )
            Defendants.                     )
                                            )
BROADSOFT, INC.,
                                            )
            Plaintiff,                      )
                                            )
                                                 C.A. No. 13-711-RGA
v.                                          )
                                            )
CALLWAVE COMMUNICATIONS, LLC,               )
                                            )
            Defendant.                      )

          JOINT CLAIM CONSTRUCTION BRIEF (CALL PROCESSING)
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December 10, 2014
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I.     INTRODUCTION

       A.       Plaintiff’s Opening Position

       Plaintiff CallWave Communications, LLC (“CallWave”) submits its Opening Claim

Construction Brief in support of its claim construction for U.S. Patent Nos. 7,397,910 (the “’910

Patent”), 7,555,110 (the “’110 Patent”), 7,636,428 (the “’428 Patent”), 7,822,188 (the “’188

Patent”), 8,064,588 (the “’588 Patent”), 8,325,901 (the “’901 Patent”), and 8,351,591 (the “’591

Patent”) (collectively, the “Call Processing Patents”). The disputes the Court must resolve are

straightforward. CallWave contends that the language of the claims, which is consistent with the

intrinsic evidence, should be followed. In contrast, Defendants urge new limitations in a manner

incongruous with the claim language in a scattershot attempt to find non-infringement positions.

       B.       Defendants’ Answering Position

       Each of the seven asserted Call Processing patents (“CP Patents”) has rootsn a common

problem that existed in 1999, when the earliest of these applications was filed, but no longer

exists today.   At that time, people accessing the Internet often did so using a “dial-up”

connection (i.e., using a commercially available modem over their telephone line). JA-CP 146 at

1:52-61. 1 When accessing the Internet in this manner, the user’s phone line would be busy, and

incoming calls could not reach the user. Id. CallWave sought to address this problem by

providing those accessing the Internet using a dial-up connection the ability to “screen”

1
  Throughout this brief, the citations to a patent are exemplary for each of the patents for which
the particular term is being construed. While the specifications of the CP Patents are not
identical, they share relevant disclosures and underlying concepts. To arrive at each of these
specifications, the prosecutors engaged in a cut-and-paste exercise with each subsequent
application, in which either the entirety, or portions, of previous specifications were cobbled
together. The ‘188 Patent, which amasses portions from the specifications of each of the other
CP Patents, clearly demonstrates this point. This haphazard combination of specifications
complicates claim construction by adding material in a manner that is not always consistent with
the remainder of the specification, or the claims. Defendants have done their best to ascribe a
uniform meaning to most terms across the several disparate patents.


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incoming calls by sending information about the caller (e.g., phone number or other information)

to the computer being used to access the Internet. JA-CP 147 at 4:54-57. The user could then

decide whether to let the call go to voicemail, disconnect from the Internet session and answer

the call, or redirect the call to be answered on another phone line.

       To manage this functionality, CallWave proposed the use of a Call Processing System

(“CPS”) to answer and manage subscribers’ incoming calls. Subscribers could arrange for calls

to be forwarded to the CPS when their phone line was in use. JA-CP 149 at 7:62-63. When a

call placed to a subscriber encountered a “busy” condition, the CPS received signaling

information from, and proceeded to establish a voice path with, the calling party. This signaling

information and voice path between the CPS and calling party was the first call leg (shown in

blue below). JA-CP 152 at 13:18-21; JA-CP 154 at 17:42-46. The CPS then sent signaling

information to the subscriber’s computer terminal to facilitate screening. JA-CP 152 at 13:36-

45; JA-CP 154 at 17:40-42. If that call was accepted, the CPS then established a new voice path

to the called party, to create a second call leg (shown in green below). JA-CP 152 at 14:36-40;

JA-CP 154 at 17:65-18:4; 18:10-12. The CPS then proceeded to “bridge” the first call leg and

the second call leg (shown in red) to allow the calling party and called party to speak. JA-CP

152 at 14:49-56; JA-CP 154 at 18:14-18.




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        To facilitate screening, the CP Patents proposed an interface (“Command Center,” shown

 below) for use on the subscriber computer logged into the Internet (i.e., occupying the telephone

 line). The interface provided the subscriber with several “call handling” operations to handle an

 incoming call, including dropping the Internet connection and accepting the call, or transferring

 the call to an unoccupied phone line. JA-CP 149 at 7:65-8:2.

        The subscriber could decide which call handling operation to choose—i.e., how to

 connect the “screened” call—based on the identity of the caller. The CP Patents identify several

 types of call screening information that could be used to convey the identity of the calling party,

 or the purpose of the call. One technique included providing the calling party’s telephone

 number to the subscriber’s interface.     JA-CP 155 at 19:30-40.      In the alternative, a voice

 recording (e.g., an audio message) from the calling party could be recorded and sent to the




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 subscriber in “substantially real-time” to allow the subscriber to (1) identify the calling party,

 and (2) determine the purpose of the call. JA-CP 154 at 17:59-64. The subscriber could choose

 how to handle the call based on this call screening information.




        C.      Plaintiff’s Reply Position

        Defendants’ responsive brief is replete with attempts to import limitation into the claims

 from the specification or from other claims. The specifications describe many embodiments, yet

 defendants consistently ignore embodiments inconsistent with their position to advance their

 limiting constructions.   Often, the only “evidence” Defendants provide is the unsupported

 argument of its attorneys. Defendants’ transparent attempt to create noninfringement positions

 by ignoring solid claim construction principles is improper.

        D.      Defendants’ Sur-Reply Position

        In 40 pages of briefing CallWave does not once describe its invention. This is striking

 given that claims must be construed in view of the invention disclosed in the specification. See

 Phillips v. AWH Corp., 415 F.3d 1303, 1316 (Fed. Cir. 2005) (en banc). Instead, CallWave has

 construed the disputed claim terms in a vacuum, arguing that without a disclaimer, the terms

 should be afforded their broadest possible meaning. This is incorrect. Plaintiff’s constructions



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 and arguments, altogether divorced from the intended invention and disclosure of the Call

 Processing Patents (“the CP Patents”), fail to define these terms “in a way that comports with the

 instrument as a whole.” Markman v. Westview Instruments, Inc., 517 U.S. 370, 389 (1996).

 II.    THE PATENTED TECHNOLOGY

        A.      Plaintiff’s Opening Position

        The Call Processing Patents disclose systems, methods, and articles of manufacture for

 providing expanded telecommunication services and call screening. Embodiments of expanded

 telecommunications services are found throughout the Call Processing Patents, and include, e.g.,

 call redirection, find-me/follow-me and multi-cast functionality (allowing the called party to

 receive calls in different locations), and processing of calls on telephone and IP devices. The

 Call Processing Patents also disclose various embodiments of call screening, e.g., systems,

 methods, and articles of manufacture for call screening based on call signaling information

 and/or the transmission of audible sound.

 III.   ANALYSIS/ CONSTRUCTION OF DISPUTED CLAIM TERMS 2

        A.      Call

                1.     Plaintiff’s Opening Position

        “Call” is a common word that any judge or jury will readily understand, and it requires

 no construction beyond its plain and ordinary meaning. See Phillips v. AWH Corp., 415 F.3d

 1303, 1314 (Fed. Cir. 2005). Furthermore, the intrinsic evidence does not attach a specific

 definition or otherwise limit “call” from its plain and ordinary meaning.

        If construction is required, “call” should be construed as understood by a person of

 ordinary skill in the art at the time of the invention to mean a “connection or request for a


 2
   Different claims and patents are asserted against different defendants. Each Defendant joins in
 this brief with respect to the claims asserted against it.


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 connection.” (Lucantoni Dec. at ¶ 11.) Such a definition is consistent with the plain and

 ordinary understanding of “call,” albeit a more technical definition. For instance, one might use

 “call” to refer to a “connection” as follows: “I just finished a call [“connection”] with a friend.”

 Similarly, “call” can also refer to a “request for a connection”: “I placed a call [“request for a

 connection”], but no one answered.” While the understanding of one of ordinary skill is more

 technically precise, these examples demonstrate the congruence between the understanding of a

 lay person and what one of ordinary skill in the art would understand “call” to mean.

           The intrinsic evidence further supports CallWave’s proposed construction that “call” can

 mean a “connection or a request for a connection”, depending on the context. For example,

 claim 12 of the ‘901 Patent allows a party to “accept” or “not accept” a call. Thus, the “call” is

 first a request for a connection, and becomes a connection if accepted. Similarly, Fig. 23 of the

 ‘188 Patent shows step 2302 in which “a call is placed by a caller to the called party” (i.e., a

 request for a connection). (JA-CP 0163 at 35:29-30.) Then, in step 2314, the call is connected.

 (JA-CP 0163 at 35:40-52.) Thus, a call can be in a connected state or an unconnected state.

           Numerous other examples confirm that the specifications use “call” interchangeably with

 “connected” and support CallWave’s proposed construction.          For example, the ’188 Patent

 specification interchangeably uses the terms “connect duration” and “call duration” to refer to

 the length of various type of calls. (JA-CP 0161 at 32:39-67.) The ’188 Patent specification

 again uses “call” and “connection” interchangeably when describing the instance in which a

 “call” is placed from a wireless phone and the “caller’s connection is of poor quality,”

 necessitating a new call to be originated. (JA-CP 0165 at 40:5-13 3.) Similarly, “the new call can

 be directed back to the caller’s cell phone, which may be desirable if the caller’s connection had


 3
     Emphasis is added in all quotes unless otherwise specified.


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 dropped….” (JA-CP 0165 at 40:20-25.) In each case, the patentee used “call” in the same

 manner that one of ordinary skill in the art would understand it to mean – “connection or request

 for a connection.”

        In contrast to the plain and ordinary meaning of “call,” Defendants incongruously limit

 “call” to “a voice path and signaling information.” Such a construction is contrary to the claims

 language and specification. The ‘188 Patent specification discloses that a call is not limited as

 Defendants urge, but may include “voice, data, and/or signaling information.” (JA-CP 0165 at

 39:64-40:2.) The use of “and/or” shows that a call can consist of any one of these types of

 information or any combination of these types of information. This is confirmed by the plain

 language of the claims. For example, claim 17 of the ‘188 Patent recites that “the second outcall

 is associated with signaling information.” (JA-CP 0182 at 73:28-45.) Defendants’ construction

 regarding signaling information would make that phrase a nullity, which is improper.

        Similarly, Defendants’ requirement that a “call” requires a “voice path” is not correct.

 The ‘188 Patent specification explains that “a communications line is referred to as ‘busy’ when

 the communication line is being utilized in such a way that a conventional incoming call will not

 be connected to the communications line.” (JA-CP 0150 at 9:40-43.) In other words, the

 incoming call exists whether or not there is a voice path established.

        Moreover, Defendants’ construction makes no sense when inserted into the claims. For

 example, claim 1 of the ’901 Patent recites “receiving … a first call from a calling party . . . .”

 (JA-CP 0262 at 50:9-26.) It makes no sense to receive a voice “path from a calling party.” A

 voice path is not received from a calling party but rather a request for connection is received

 from a calling party. (Lucantoni Dec. at ¶ 12.)

        Furthermore, Defendants’ use of the phrase “voice path” in the context of these patents is




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 ambiguous and confusing. The claims and the patent specification describe calls over both

 circuit switched networks and packet switched networks, such as calls using Voice over Internet

 Protocol (VoIP).      (JA-CP 0151 at 11:56-65.)     For example, Figure 1 in the ’428 Patent

 specification illustrates the call management subsystem 108 “coupled into the PSTN 104 through

 voice trunk circuits 118 directly interfacing with the Inter Exchange Carrier’s (IXC) circuit

 switched or packet switched telephony network.” (JA-CP 0095 at 6:12-15; see also JA-CP 0096

 at 7:7-27, JA-CP 0097 at 9:67-10:3, and JA-CP 0101 at 18:24-27.) “Voice path” may imply to a

 jury that a call requires a dedicated path, as would be the case for a circuit switched network.

 (Lucantoni Dec. at ¶ 13.) However, in a packet switched network such as the Internet, a voice

 call is broken into discrete packets and each packet may take a different route from the caller and

 callee. Thus, there is no discrete path for the voice communications, and each packet may travel

 by a different path. (Lucantoni Dec. at ¶¶ 14-15.) Therefore, including the phrase would

 unnecessarily introduce ambiguity and invite juror confusion about what constitutes a “voice

 path.”

                 2.      Defendants’ Answering Position

          The asserted patents are expressly directed toward call processing systems and

 consistently use the term “call” in the sense of a phone call. See e.g. JA-CP 84 at Abstract (“An

 incoming call is forwarded to a call management system that asks the caller to leave a voice

 message.”); JA-CP 107 at Abstract. Defendants’ construction—“a voice path and associated

 signaling information”—is firmly rooted in the claim language and the specification of the CP

 Patents, and is fully consistent with the understanding of “call” from the perspective of one of

 ordinary skill in the art.

          The claim language and the specification leave no doubt that a “call” involves

 exchanging voice communications, and that a “voice path” is required for such an exchange. For


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 example, the claims recite “causing a . . . talk path to be established . . . so that the user can hear

 the caller” (JA-CP 183 at 76:51-53), “receiving a voice communication” (JA-CP 103 at 22:67),

 “transmitting . . . an audible voice communication” (JA-CP 20 at 8:55-56), “the called party can

 audibly listen to the voice communication” (JA-CP 21 at 9:33-34), and “transmitting the speech”

 (JA-CP 102 at 19:24-25) 4.       While CallWave asserts that “the phrase ‘voice path’ . . . is

 ambiguous and confusing,” that precise phrase and synonymous phrases such as “talk path,”

 “audio path,” and “communication path” appear numerous times throughout the patents (e.g., 34

 instances in the ’188 Patent alone). The specification describes, for example, establishing a talk

 path of a call between the caller and the subscriber (JA-CP 147 at 3:46-49), tearing down an

 audio path of a call (JA-CP 158 at 25:66-26:1), and muting a voice path of a call (JA-CP 166 at

 42:22-27). In fact, a call must include a voice path for the call participants to converse. See JA-

 CP 178 at 65:51-53 (“[A] two-way talk path is established . . . so that the caller and subscriber

 can converse.”).

          CallWave’s expert criticizes Defendants’ use of the singular form of the word “path” in

 the phrase “voice path,” because he alleges that voice communications for a VoIP call may travel

 over several different paths rather than just one discrete path. See Lucantoni Dec. ¶¶ 14-15.

 Nevertheless, CallWave’s own patents characterize the voice communications for a VoIP call as

 a “path” in singular. See e.g. JA-CP 147 at 3:46-49 (“causing . . . a full duplex talk path to be

 established between the computer-based telecommunications client application and the caller so

 that the caller and the subscriber can converse”); JA-CP 152 at 13:59-61 (“the audio return path

 over the Internet channel to the CM subsystem”).




 4
     Emphasis in the quoted material is added unless otherwise noted.


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         In addition to a voice path, a “call” includes “associated signaling information.” A caller

 cannot pick up a phone and start talking until a voice path is first established by a series of

 signals—e.g., signals associated with on-hook and off-hook events, dialed phone number, ring

 tones, busy signals, etc.         See Ex. 1, Annabel Z. Dodd, The Essential Guide to

 Telecommunications 166 (2d ed. 2000). Moreover, the independent claims make clear that a call

 includes signaling information. The oft-recited steps of placing a call, receiving a call, and

 connecting a call necessarily involve exchanging signaling information. See id. CallWave

 argues that the step of receiving a call only involves receiving a request for connection, without a

 voice path. While the signaling information associated with a call is received first, a voice path

 is subsequently set up to establish a call (i.e., the call is answered). See id. The patents describe

 this well-known fact. For example, Fig. 26 of the ’188 Patent depicts a call flow where a voice

 path is set up (step 1108A) after a call is received from the calling party (step 1100A) and

 answered by the called party (step 1104A). See JA-CP 137; see also JA-CP 170 at 49:21-48

 (“[A] call . . . is received . . . . [T]he subscriber selects an option to take the call. The Call

 Processing System 1124 opens the talk path . . . and the conversation between the caller and

 called party begins.”). Indeed, the steps of the claims often indicate whether the signaling

 portion of a call or the voice path portion of a call is involved. 5




 5
   See e.g. JA-CP 102 at 19:13-15 (“receiving . . . a first call . . . , wherein the first call includes
 signaling information”), 19:64-65 (“placing a second call . . . , the second call including
 signaling information”); JA-CP 105 26:16-17 (“causing duplex communication to be provided so
 that the called party can converse with the calling party”); JA-CP 103 at 21:36-37 (“muting a
 return talk path to the caller”); JA-CP 102 at 19:24 (“recording speech from the caller”).


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        CallWave and its expert assert that the plain and ordinary meaning of a “call” is a

 “connection or request for connection.” 6 But even a cursory review of these patents makes clear

 that a “call” specifically involves voice communication. CallWave’s construction, however, is

 devoid of any reference to a voice communication and therefore is overly broad. A “connection”

 could encompass, for example, web browsing or online chatting involving an Internet connection

 or SMS text messaging. Contrary to CallWave’s contention that the patents use “call” and

 “connection” interchangeably, the patents use the term “connection” in different contexts—for

 example, to differentiate an Internet connection from a voice call. See e.g. JA-CP 93 at 2:22-25

 (“[A]n Internet Answering Machine (IAM) system allows a called party to monitor a message

 being left by a caller even when the called party is connected to the Internet over a dial-up

 connection.”); see also JA-CP 93 at 1:49-52; JA-CP 96 at 7:3-10. These passages from the

 specification reinforce that the claims of the asserted patents are directed to voice

 communications, not generic “connections.” Accordingly, “call” must be interpreted to involve

 voice communications and associated signaling information.

                3.      Plaintiff’s Reply Position

        Defendants acknowledge that “call” is used in a readily understood manner in the

 asserted claims: “The asserted patents . . . consistently use the term ‘call’ in the sense of a phone

 call.” Because “call” is readily understood, and the patentee did not specially define the term or

 disclaim its scope, no construction is necessary.

        Defendants’ attempt to limit the term “call” to require “a voice path” and “associated

 signaling information” is incongruous with the asserted patents, which teach that a call may


 6
   CallWave’s expert subscribes to CallWave’s proposed construction but offers no justifications
 (from documentary evidence or from his own knowledge) that support CallWave’s construction.
 See Lucantoni Dec. ¶ 11.


                                                  11
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 include “voice, data, and/or signaling information.” (JA-CP 0165 at 39:64-40:2.)             Defendants

 fail to address this explicit teaching that refutes their overly restrictive construction.

         Defendants are wrong in contending that the claim language and the specification limit

 “call” to exchanging voice communications and a voice path. For example, the specification

 teaches explicitly that the called party may select the “BLOCK CALL” option and thus choose

 not to answer a “call.” (JA-CP 0043 (Fig. 18)). In other words, a “call” exists (else it could not

 be blocked or answered) and yet no voice communication occurs and no voice path is

 established. While the specification teaches that a voice path or a talk path is established for

 some calls, that is consistent with its teaching that a call may include “voice, data and/or

 signaling information.” Defendants cannot show any teaching requiring voice information or a

 voice path.

         Further, Defendants do not address the incompatibility of their construction with the

 claims. For example, Claim 1 of the ’901 Patent requires “receiving . . . a first call,” but it makes

 no sense for a called party to receive a “voice path.” (Lucantoni Dec. ¶ 12.) Similarly, Claim 40

 of the ’188 Patent discloses the situation where a first outcall is not answered. (JA-CP 0183 at

 32-55.) If the call is not answered, then no voice path exists. (See Lucantoni Dec. ¶ 12.) In yet

 another example, claim 52 of the ’188 patent requires:

            at least partly in response to receiving an indication that the mobile
            communication device answered the call, causing a half-duplex talk path to
            be established between the mobile communication device ….

 (JA-CP 0183 at 76:49-54.) The claim requires a “call” to be answered before a talk path is

 established. Hence, the “call” exists before the talk path.

         An additional problem with Defendants’ “voice path” requirement is the term “path.”

 Defendants do not refute Dr. Lucantoni’s testimony that a VoIP call uses packets that may be

 sent over multiple paths. (Lucantoni De. ¶¶ 14-15.)           Thus, construing the term to require a


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 “voice path” serves only to confuse the jury, which is the antithesis of claim construction.

        Defendants “signaling information” requirement is also unsupported. As Defendants

 admit in their answering brief, certain claims explicitly require signaling information, while

 others do not. Defendants’ construction would improperly import that requirement to all of the

 claims. Further, the specification explicitly teaches that a call may include “voice, data, and/or

 signaling information.” (JA-CP 0165 at 39:64-40:2.)

                4.      Defendants’ Sur-Reply Position

        A telephone “call” can function only if it includes voice and signaling. To refute this,

 CallWave cites a portion of the specification, regarding “voice and/or signaling information,”

 wholly out of context even though the entirety of the citation makes clear that “the call

 processing system optionally can monitor the call (including voice, data, and/or signaling

 information).” Nowhere does it state that these components can individually comprise a call.

        CallWave also relies on Fig. 18 and argues that a call does not require a voice path and

 may comprise only signaling information (“signaling”), because the CP Patents teach a “blocked

 call” feature. CallWave is incorrect. The call between the CPS and the called party necessarily

 includes a voice path so that the called party can hear the voicemail in real time and thus screen

 the call. See JA-CP 155 at 20:6-11. Screening calls necessarily requires that voice paths have

 been established to enable the called party to hear the voicemail. Furthermore, the called party is

 provided the option to block an incoming phone call upon receiving the calling party’s identity.

 But, if the caller has been identified, signaling has been received (see phone number for

 “incoming call” at JA-CP 0043). Under CallWave’s construction, the called party could not

 actually “block” the call in Fig. 18, because the “call,” consisting of signaling alone, would have

 already come through. The only logical understanding of the embodiment depicted in Fig. 18 is




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 that the called party is given an opportunity to block a “call” by blocking the establishment of a

 voice path with the calling party.

          CallWave also argues that Defendants’ use of the term “voice path,” somehow excludes

 “VoIP.” “Voice path” is simply a term used to distinguish voice from signaling. The intrinsic

 record likewise uses the term “voice path,” and synonymous terms (e.g., “audio path,” “talk

 path”) on numerous occasions to reference the voice component of a call, without ever

 distinguishing between traditional and VoIP calls. JA-CP 0166 at 42:21-22.

          CallWave next contends that Defendants’ construction is inconsistent with the CP Patent

 claims that recite “receiving a call,” because a called party does not “receive . . . a voice path.”

 This argument has no merit. Receiving a call, like “placing a call,” has a particular meaning

 related to call setup that depends on context; Defendants’ construction is consistent with that

 understanding.        CallWave also argues that the requirement of “signaling” in Defendants’

 construction is unsupported. But, CallWave has not—and cannot—point to any call being

 established without signaling information because it, like a “voice path,” is a fundamental

 component of a call.

          B.      Outcall

                  1.       Plaintiff’s Opening Position

          Outcall does not have a specialized meaning. (Lucantoni Dec. at ¶ 16.) “Outcall” is

 easily understood, and construction of the term is not needed. If construed, “outcall” should be

 construed to mean “outgoing call.”

          The intrinsic evidence supports CallWave’s proposed construction because the claims

 and specifications use “outcall” to refer to an outgoing call and the patentee did not disclaim that

 scope.    For example, claim 1 of the ’428 Patent recites “placing an outcall from the call

 processing system.” (JA-CP 0102 at 19:11-34.) The language of that claim indicates that the


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 outcall is leaving (i.e., outgoing from) the call processing system. Similarly, the ’188 Patent

 specification describes an example call transfer process in which a call intended for a called

 party is received by the call processing system, which subsequently requests an outcall to a

 telephone associated with the called party. (JA-CP 0157-158 at 24:53-25:3.) Thus, this passage

 discloses an “outcall” to mean an “outgoing call,” supporting CallWave’s proposed construction.

        In contrast, the intrinsic evidence does not support Defendants’ proposed construction

 limiting “outcall” to “a call originated from the call processing system.” As discussed above,

 claim 1 of the ’428 Patent requires placing an outcall “from the call processing system.”

 Defendants’ construction would make that claim language a nullity, which is improper. In

 contrast, other claims do not include the requirement that an “outcall” must be “from the call

 processing system.” For example, claim 14 of the ’188 Patent simply requires “placing a third

 outcall to the transfer destination.” (JA-CP 0182 at 73:13-21.) Similarly, claim 37 of the ’188

 Patent states “placing an outcall to the connect destination.” (JA-CP 0183 at 75:10-19.) And

 claim 40 of the ’188 Patent recites “placing a first outcall to a first communication device.” (JA-

 CP 0183 at 75:32-55.) Thus, adopting Defendants’ proposed construction would improperly

 import new limitations to these claims.

        Defendants also insert a requirement that the outcall must be “originated” from the call

 processing system.     It is unclear what limitations Defendants imply by inserting the word

 “originated” here. While in some cases (such as claim 1 of the ’428 Patent) the outcall may

 come from the call processing system, but nothing in the intrinsic evidence requires the outcall to

 be “originated” from the call processing system, as Defendants would require. If “originated”

 adds no additional limitation, then no construction is required. If “originated” implies additional

 restrictions about the outcall, Defendants should clarify those restrictions.




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        Accordingly, there is no intrinsic support for Defendants’ proposed construction, and it

 should be rejected.

                2.      Defendants’ Answering Position

        While CallWave proposes to leave open the possibility that an outcall could originate

 from anywhere, Defendants’ construction specifies that the outcall, consistent with the use of the

 term in the patents, is from the call processing system. The patents’ alleged invention relates to

 call processing functions performed by a call processing system. 7 See e.g. JA-CP 146 at 2:11-

 36; JA-CP 93 at 2:22-44. As such, the claims are written from the call processing system’s

 perspective, not from a user’s perspective. For example, the claims recite “receiving at the call

 processing system a . . . call from a calling party” (JA-CP 181 at 72:64-65) and “placing a . . .

 call from the call processing system . . . to . . . the called party” (JA-CP 102 at 20:64-66).

 Furthermore, the usage of “outcall” in each of the claims makes clear that the outcall is

 originated from the call processing system. See e.g. JA-CP 181 at 72:22-23 (“placing a[n] . . .

 outcall from a call processing system to the . . . called party”). This is consistent with the entire

 premise of the invention—a call processing system that receives a call attempt while a subscriber

 is occupying their telephone line by accessing the Internet, and places outcalls to reach the

 subscriber. 8 CallWave argues that claims 14, 37, and 40 of the ’188 Patent omit the explicit

 identity of the outcall’s originator. But in each instance, the context of the claims makes clear

 that the recited steps are call processing steps performed by the call processing system. 9


 7
   The call processing system is also referred to in the patents as the call processor system,
 processing system, IAM system, first system, softswitch, etc.
 8
  See e.g. JA-CP 157 at 24:54-56; JA-CP 159 at 27:41-42, 28:37-40, JA-CP 160 at 29:12-14; JA-
 CP 165 at 39:58-60; JA-CP 168 at 46:12-14; JA-CP 169 at 48:16-23.
 9
   For example, in claim 40, the call processing system receives a message regarding a first call
 from a caller intended for a subscriber. After this, the claimed system accesses a subscriber
 instruction and, based on the subscriber instruction, places an outcall to a communication device


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        CallWave also complains about the word “originated” in Defendant’s construction.

 Specifically, CallWave argues that “nothing in the intrinsic evidence requires the outcall to be

 ‘originated’ from the call processing system,” “there is no intrinsic support for Defendants’

 proposed construction,” and “[i]t is unclear what limitations Defendants imply by inserting the

 word ‘originated’ here.” To the contrary, the word “originated” and variants of this word are

 used throughout the specification (e.g., 74 instances in the ’188 Patent alone). See e.g. JA-CP

 165 at 40:13-14 (“[T]he call processing system can originate a call.”). The word “originated” in

 Defendants’ construction of “outcall” is amply supported by the intrinsic record. For example,

 according to the specification, placing an outcall involves originating a call. See JA-CP 134 at

 Fig. 24 (the call processing system receiving a re-originating instruction in step 1906 and, in

 turn, placing an outbound call in step 1910); JA-CP 169 at 47:30-35. Defendants’ construction

 includes “originated” because that is the language used by the CP Patents.

        CallWave’s proposed construction of “outcall” as an “outgoing call” does nothing to

 further explain the meaning of this term and does not clarify that the outcall comes from the call

 processing system. Even the intrinsic evidence CallWave cites (i.e., ’188 Patent at 24:53-25:3)

 clearly state that the “call processing system can place an outcall.” JA-CP 157 at 24:54-55. The

 Court should adopt Defendant’s proposed construction and reject CallWave’s attempt to expand

 the scope of the claims.



 associated with the subscriber. The outcall to the subscriber could not have been placed by the
 subscriber himself because the caller does not have access to the subscriber instruction. In fact,
 if the caller could place an outcall to the subscriber directly, there would be no need for the call
 processing system of the invention. The call processing system is the only logical, and indeed
 the only possible, originator of the outcall. Similarly, in claims 14 and 37 of the ’188 Patent, the
 call processing system receives a call transfer request from the subscriber who specified a
 transfer destination, and, in turn, the claims recite placing an outcall to the transfer destination.
 Again, only the call processing system could have placed the outcall, because only the call
 processing system received the transfer request.


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                3.       Plaintiff’s Reply Position

        The dispute is whether an “outcall” must originate from the call processing system (as

 Defendants contend) or not (as CallWave contends.) Defendants can point to no disclaimer by

 the patentee of the scope of “outcall.” Instead, Defendants cite to the claim language of certain

 claims that recites “placing a[n] … outcall from a call processing system to the … called party.”

 However, this language highlights the problem with Defendants’ construction, which would

 render the language “from a call processing system” superfluous in those claims in which it is

 included, and imports that limitation into those other claims in which it is not included (e.g.,

 claims 14, 37, and 40.) Merck & Co., Inc. v. Teva Pharms. USA, Inc., 395 F.3d 1364, 1372 (Fed.

 Cir. 2005) (“A claim construction that gives meaning to all the terms of the claim is preferred

 over one that does not do so.”)

        The other problem with Defendants’ construction is the use of the term “originated”

 because it creates ambiguity. Defendants quote the ’188 Patent specification’s teaching about

 how to handle a call that has “been placed by the caller . . . that has poor quality.” (JA-CP 0165

 at 40:5-6.) It teaches in that instance to “re-originate a new call to the caller.” In one sense, the

 “new call” is originated by the call processing system because the new connection was requested

 by the call processing system. In another sense, the “new call” was not originated from the call

 processing system because it was originally “placed by the caller.” (JA-CP 0165 at 40:7-14.)

 Defendants acknowledge this ambiguity, which leaves the jury to guess what limitations

 “originated” implies.

                4.       Defendants’ Sur-Reply Position

        Contrary to CallWave’s contention, even absent a disclaimer, claim terms are to be read

 in light of the intrinsic record. See Phillips, 415 F.3d at 1315. As discussed above, CallWave’s

 assertion that an outcall can come from any equipment at any point in time is contrary to the


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 intrinsic record. 10 CallWave also argues that Defendants’ construction is superfluous, because

 certain CP claims are explicit in stating that the outcall comes from the call processing system

 (“CPS”). This misses the point. The fundamental objective of the CP Patents was to provide a

 CPS to receive calls when a subscriber’s phone line was occupied, and to place outcalls to notify

 the subscriber or otherwise complete the call. Allowing an outcall to originate from any point

 other than the CPS would ignore the essential feature of the invention. In omitting this concept,

 CallWave’s proposal eliminates any distinction between a “call” and an “outcall.”

        Further the term “originated” in Defendants’ proposal does not create ambiguity as

 CallWave suggests. Even the embodiment that CallWave relies upon describes an outcall first

 placed (i.e., originated) by the CPS. CallWave’s proposal, however, would allow an outcall to

 be placed by the calling party, the called party, or any other party or equipment.

        C.      Placing / place a[n] [first/new/second/third] [out]call / outcall is placed

                1.      Plaintiff’s Opening Position

        Whether or not the Court decides to construe the term “outcall,” the phrases “placing a[n]

 [first/second/third] outcall,” “outcall is placed,” and “outcall is to be placed” need not be

 independently construed. The additional language is easily understood.

        The parties agree that “placing[ed]” means “requesting[ed].” Thus, the only dispute is

 over Defendants’ requirement that placing a first/second/third outcall means “originating a

 request for a first/new/second/third outcall.” For similar reasons discussed with respect to

 “outcall,” that additional limitation is ambiguous. The patentee specifically chose not to restrict

 the scope of these phrases with the term “originate,” and there is no reason to do so now.

 10
    CallWave is incorrect in its assertion that Defendants’ citation to claims that explicitly
 disclose an outcall “from a call processing system,” read this limitation into other claims.
 Defendants merely reference these claims as further evidence that the only place from which an
 outcall is generated – anywhere in the CP Patents – is the call processing system.


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 Nowhere in the specification are the phrases “placing a[n] [first/second/third] outcall,” “outcall is

 placed,” and “outcall is to be placed” limited by “originating.”

           Furthermore, combining Defendants’ proposed definition of these phrases with

 Defendants’ proposed definition of “outcall” yields a redundant and nonsensical claim. For

 instance, claim 1 of the ’188 Patent reads in part “placing a first outcall from a call processing

 system,” and inputting Defendants’ proposed constructions would read “originating a request for

 a first call originated from the call processing system from a call processing system.” Such a

 confusing result would suffice only to confuse the jury, which is the antithesis of proper claim

 construction.

                  2.     Defendants’ Answering Position

           Calls are enabled through complex networks of interconnected equipment; this equipment

 coordinates communications through the exchange of signaling information. Thus, one call

 originated from a calling party could arguably involve multiple requests from multiple devices

 others than the calling party’s device. Accordingly, Defendants propose a construction that

 distinguishes the actor who placed a new call, i.e., the entity that actually originated the request

 for the new call, from some intermediary device that simply passed along the call request

 originated by someone else. It also clarifies, in accordance with the plain meaning of “placing,”

 that a new call is originated.

           The patents identify some of the networks and devices necessary to enable a call,

 including, for example, a local exchange switch, local gateway, central gateway, servers,

 Internet, PSTN, POTS network, LEC, IXC, ISP, MSC/VLR, HLR, BS, SIP proxy, firewall, and

 PBX/AA. 11 While these pass-through, intermediary devices may request calls by processing and


 11
      See e.g. JA-CP 110 at Fig. 1; JA-CP 112 at Fig. 3; JA-CP 124 at Fig. 16; JA-CP 142 at Fig. 31.


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 passing along call requests originated by someone else, these devices themselves do not

 originate new calls. 12 As described in the patents, only the calling party and the call processing

 system can originate the new call. 13      Therefore, the intrinsic record supports Defendants’

 construction that specifies that the claimed step of “placing” a call is performed by the one

 “originating a request for” the call, and not by an intermediary.

        CallWave agrees that “placing” a call involves “requesting” a call. But using the word

 “requesting” alone—as CallWave suggests—is overly broad, because as described above, one

 call originated from a calling party could arguably involve multiple requests from multiple

 devices other than the calling party’s device. Indeed, the arguments CallWave advances do not

 support its construction.     First, CallWave again criticizes Defendants’ use of the term

 “originating,” but as described above, that is the exact term used by the patents themselves.

 Second, CallWave asserts that the intrinsic record does not limit the term “placing” to mean

 “originating.” But the specification equates “placing” with “originating” by teaching that a call

 is placed in response to an instruction to originate a call, i.e., a new call is originated. See e.g.

 JA-CP 134 at Fig. 24; JA-CP 169 at 47:30-35. Third, CallWave mechanically substitutes the

 claim terms “outcall” and “placing” with Defendants’ respective constructions for those terms,

 and argues that the resulting phrase includes “redundan[cy].” However, [t]he purpose of claim

 construction is to “determin[e] the meaning and scope of patent claims,” O2 Micro Int’l Ltd. v.

 Beyond Innovation Tech. Co., 521 F.3d 1351, 1360 (Fed. Cir. 2008) (citation omitted), not to

 find exact synonyms that could replace the claim terms in every conceivable scenario without


 12
    See e.g. JA-CP 175 at 59:4 (“SIP is a request-response protocol.”); JA-CP 175 at 60:4-6
 (“[T]he request may be redirected or may trigger a chain of new SIP requests by proxies.”); JA-
 CP 179 at 67:51 (“[T]he call request passes through the corporate firewall.”).
 13
   See e.g. JA-CP 128 at Fig. 19B (“Calling Party 1102 originates call to Called Party Phone Line
 1114.”); JA-CP 166 at 41:4-5 (“[T]he call processing system originates a new call.”).


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 redundancy. See 01 Communique Lab., Inc. v. LogMeIn, Inc., 687 F.3d 1292, 1296 (Fed. Cir.

 2012) (rejecting an argument that two proposed constructions would be redundant when inserted

 into a claim, because there is no “authority for the proposition that construction of a particular

 claim term may not incorporate claim language circumscribing the meaning of the term”).

                3.     Plaintiff’s Reply Position

        If the Court decides this readily understood phrase needs construction, then the dispute is

 whether this phrase should be construed to mean “requesting a call” (as CallWave argues) or

 “originating a request for a call” (as argued by Defendants.) There are at least three problems

 with Defendants’ construction.

        First, the claims do not support Defendants’ additional limitation. As discussed with

 respect to “outcall,” claims 14, 37, and 40 of the ’188 Patent merely require a call to be placed,

 but other claims, such as claim 17, identify the entity placing the call. Attaching Defendants’

 limitation would improperly import new limitations to claims 14, 37, and 40.

        Second, Defendants’ contention that the specifications equate “placing” with

 “originating” is wrong. Defendants point to Figure 24 of the ’188 Patent which discloses in step

 1906 a “re-originating instruction” and in step 1910 that an outbound call is “place[d].” (JA-CP

 0134 at Fig. 24.) But, the use of two different words implies a different meaning. Under

 Defendants logic, one would also conclude that the specification also equates “placing” with

 “conferencing,” by teaching that a call is placed in response to a conference instruction. (JA-CP

 0134 at steps 1914 and 1916.) Similarly, the specification teaches placing a call in response to

 an inbound call, but that does not equate “placing” with “inbound call.” The patentee clearly

 used “placing” more broadly than “originating.”

        Finally, the insertion of the term “originate” merely adds confusion and invites further

 construction as discussed with “outcall.”


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                4.      Defendants’ Sur-Reply Position

        CallWave rehashes its “outcall” arguments for the “placing” claim term, and seeks to

 artificially broaden the scope of the claims to cover anything “requesting” a call. Defendants

 seek to construe this term by using a more precise term – “originate” – which the CP Patents

 themselves use to describe the act of placing a call. See, e.g., JA-CP 168 at 45:33-39.

        D.      Switched network

                1.      Plaintiff’s Opening Position

        The parties dispute the scope of the claim term “switched network.” This term is readily

 understood in the context of the claims and the specification and does not require a specialized

 construction. If the Court determines construction is necessary, “switched network” should be

 construed as “communication network with switches, for example a packet switched network

 and/or a circuit switched network.”

        Defendants propose to further limit “switched network” to only a “circuit switch

 network.” The claim language itself precludes such a limitation. For example, claim 10 of the

 ’428 Patent describes a method of processing calls, including the step of “placing a third call . . .

 over the switched network to the second terminal.” (JA-CP 0102 at 20:46-47.) Claim 12, which

 depends from claim 10, states “the called party communicates with the caller using Voice over

 Internet Protocol (VoIP).”      (Id. at 20:51-53.)    As explained by the specification, VoIP

 communications use packet switching technology and thus use packet switched networks,

 another type of switched network. (Lucantoni Dec. at ¶¶ 18-21.) Because the switched network

 of claim 12 specifically requires VoIP communications, the “switched network” of claims 10 and

 12 cannot be limited to only circuit switched networks.

        The ’428 specification further describes the networks over which calls can be received

 and placed, including “coupling of the call manager subsystem into the PSTN through voice


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 trunk circuits 118 directly interfacing with the Inter Exchange Carrier’s (IXC) circuit switched or

 packet switched telephony network.” (JA-CP 0095 at 6:12-15.) Thus, a person of ordinary skill

 in the art, reading the claims in the context of the specification, would understand the term

 “switched network” to include packet switched networks. (Lucantoni Dec. at ¶ 17.)

        Thus, Defendants’ proposed construction contradicts the intrinsic evidence by excluding

 packet switched networks, a type of switched network explicitly disclosed in both the claims and

 the specification.

                2.     Defendants’ Answering Position

        Defendants’ construction of “switched network” is consistent with its ordinary and

 customary meaning at the time of the filing of the ’428 Patent. In fact, the dictionary definition

 of “switched network” is the public switched telephone network (“PSTN”). Newton’s Telecom

 Dictionary 816 (16th ed. 2000) (“Switched Network: See PSTN”). As CallWave’s own expert

 explains, “[t]he PSTN is a circuit switched network.” Lucantoni Dec., ¶18. The intrinsic record

 also supports Defendants’ construction.

        “Switched network” in claims 10 and 16 of the ’428 Patent also can only mean “circuit

 switched network,” because the applicant disclaimed any broader interpretation to overcome

 prior art.   During prosecution, the examiner rejected the application for U.S. Patent No.

 7,103,167 (the “’167 Patent”), 14 as obvious over combinations of U.S. Patent No. 5,805,587



 14
    The ’428 Patent is not only a continuation of the ’167 Patent, but it contains a terminal
 disclaimer to the ’167 Patent to overcome a double patenting rejection of all claims. ’428 File
 History, March 2, 2009 Office Action, at 2. “When the application of prosecution disclaimer
 involves statements from prosecution of a familial patent relating to the same subject matter as
 the claim language at issue in the patent being construed, those statements in the familial
 application are relevant in construing the claims at issue.” Ormco Corp. v. Align Tech., Inc., 498
 F.3d 1307, 1314 (Fed. Cir. 2007). Thus, the prosecution history of the ’167 Patent, including the
 disavowals made to obtain allowance, apply with equal force to the ’428 Patent.


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 (“Norris”) with several other references. 15 To overcome this rejection, the applicants argued that

 “Norris does not disclose call screening over a POTS [plain old telephone service] or wireless

 device via a switched network. Rather, Norris uses the packet switched network.” JA-CP 343.16

 Thus, the applicants unambiguously disavowed call screening over a packet switched network in

 the ’428 Patent and confirmed that the “switched network” refers to a circuit switched network,

 specifically POTS or wireless networks. See Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314,

 1325 (Fed. Cir. 2003).

        Claims 10 and 16 of the ’428 Patent require that the “switched network” over which the

 third call is placed be the same as “the network” over which call screening occurs. This is

 because “a network,” at which the first call is received, is the only antecedent basis for “the

 network,” over which the screening occurs and “the switched network.” Because call screening

 has to be “over a POTS or wireless device via a switched network” (JA-CP 343, 356, 359), “the

 switched network” also must be a circuit switched network. 17 Having disclaimed a “packet

 switched” network for the call screening function, CallWave cannot now attempt to recapture

 this claim scope for the “switched network,” as they must be the same network.

        In contrast, CallWave offers a construction that is altogether unsupported. For example,

 CallWave’s citation to 6:12-15 of the ’428 Patent confirms that the call management subsystem

 is attached to the circuit-switched PSTN. See also id. at 5:30‒32 (“a Call Management (CM)

 15
   Norris discloses sending information to the called party via the Internet, i.e., a packet-switched
 network, about an incoming call.
 16
     The applicants confirmed the examiner’s understanding in their own summary of the
 interview. JA-CP 356‒59 (“Agreement was reached that [Norris] does not disclose and is not
 directed to call screening via a switched network, using a POT[S] device, or using a wireless
 device.”)
 17
   This is the only way in which call screening is discussed in the applicant’s provisional
 application 60/719,635, which consists of CallWave product brochures. See Ex. 2, U.S. Prov.
 App. 60/719,635 at 9, 11 – 15.


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 subsystem 108, which serves as the interface to the PSTN 104 to manage inbound and outbound

 telephone calls”). That passage goes on to explain that the system is either “configured as, or to

 appear as, a telephone end office” or is “locally attached to a LEC switch.” Id. at 6:21‒26.

 CallWave’s argument that the IXC (used for long distance calls) may be either circuit switched

 or packet switched is irrelevant—the method of transmission between the two endpoints of the

 IXC does not alter that the CM system receives inbound calls from the circuit-switched PSTN,

 just as a telephone end office receiving a long distance call remains part of the PSTN.

        CallWave argues that the “switched network” in independent claim 10 must include

 packet switched networks because dependent claim 12 requires that “the called party

 communicate[] with the caller using . . . VoIP.” However, the method of claim 10 ends with “a

 third call . . . over the switched network” but does not disclose actual communications between

 the parties. In short, nothing in claim 12 indicates that the VoIP communication is conducted

 using the “switched network” of claim 10. 18

                3.     Plaintiff’s Reply Position

        The ’428 Patent specification describes both circuit switched networks and packet

 switched networks. (E.g., see JA-CP 0095 at 5: 25-27, 6:12-15; JA-CP 0096 at 7:11-24; and JA-

 CP 0104 at 23:47-48, 23: 49-50.) A person of ordinary skill in the art, reading the claims in light

 of the specification, would understand the claim term “switched network” to encompass, at the

 very least, these two types of “switched” networks explicitly disclosed by the specification.

 Moreover, the extrinsic evidence cited by Defendants only demonstrates that a “circuit switched

 network” is a type of switched network, and in no way excludes other types of switched


 18
    In addition, as discussed below, a VoIP call could take place across a circuit-switched
 connection. For example, a VoIP call could take place over a dial-up Internet connection. See
 infra § L (“[a]/[the] network”).


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 networks, e.g., a packet switched network.

        Defendants argument regarding alleged disclaimer during prosecution of U.S. Patent

 Application No. 10/439, 601 (“the ’601 Application”) 19 is incorrect. The patentee did not

 disclaim any scope of the claimed “switched network” during prosecution. Defendants’ careless

 analysis simply misapplies the doctrine of disclaimer. Claim 1 of the ’601 application recites

 two calls. (JA-CP 0348.) A first call is “received over a switched network at a call manager

 system. (Id.) A second call originates “from the call manager system.” (Id.) Claim 1 was

 amended to require that the second call be directed to “at least one of a POTs telephone or a

 wireless phone.” (Id.) Claim 1 does not associate the POTs telephone or wireless phone to

 which the second call is directed, with the “switched network” over which the first call is

 received. (Id.) The patentee argued that “Norris does not even discuss providing a caller phone

 number” to a wireless phone or a POTS phone, as is required in claim 1 for the second call. (JA-

 CP 0359.) The patentee, however, said nothing about the first call or the switched network.

 Thus, the patentee did not disclaim any scope of the claimed switched network.

        Claim 7 of the ‘601 application is also instructive. It originally recited receiving a first

 call at a call processing system over a switched network and a placing a new call from the call

 processing system over the switched network. (JA-CP 0350.) To overcome Norris, the patentee

 amended the claim to require that the new call be directed to at least one of a POTs or wireless

 telephone. (Id.) The patentee did not argue that the term “switched network” was limited to

 only circuit switched networks. Instead, the patentee further limited the claim by adding a

 limitation that the new call was direct to POTs and wireless phones – an amendment that would

 be superfluous if Defendants construction were correct. Accordingly, packet switched networks

 19
   The ’601 Application granted as U.S. Patent No. 7,103,167 (“the ’167 Patent”). The ’428
 Patent is a continuation of the ’167 Patent.


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 were not unambiguously disclaimed by the patentee.

        Claim 12 further confirms that the patentee did not disclaim packet-switched networks. It

 makes clear that the called party communicates using VoIP (i.e., a packet switched technology.)

 (JA-CP 0102 at 20:51-53.) Claim 12 would be nonsensical if independent claim 10 were limited

 to circuit switched networks.

        Defendants also contend that claims 10 and 16 of the ’428 Patent “require that the

 ‘switched network’ is limited because the third call is placed over the same as ‘the network’ over

 which call screening occurs.” Defendants’ argument fails because packet switched networks

 were not unambiguously disclaimed and “switched network” is not limited to only circuit

 switched networks. Therefore, the various networks in claims 10 and 16 of the ’428 Patent can

 include both circuit switched networks and packet switched networks.

        CallWave’s construction for “switched network” is well-supported by the intrinsic

 record. (See e.g., JA-CP 0095 at 6:12-15; JA-CP 0086 at FIG. 1; JA-CP 0087 at FIG. 2.) FIG. 1

 discloses that the Call Processing System (124) can receive a call “through voice trunk circuits

 118 directly interfacing with the Inter Exchange Carrier's (IXC) circuit switched or packet

 switched telephony network. (JA-CP 0086 at FIG. 1; 6:12-15) Thus, the specification clearly

 envisions the IXC network using both circuit switched and packet switched networks. (JA-CP

 0086 at FIG. 1; JA-CP 0095 at 6:12-15) For example, a call may originate from the Calling

 Party phone (102) over the telephone line (134) to the local exchange switches (“LEC”) (126)

 and then be directed to the IXC “circuit switched or packet switched telephony network,” before

 exiting through voice trunk circuits (118) to the Call Processing System 124. (JA-CP 0086 at

 FIG. 1.) Moreover, computer terminal 110 may also be connected directly to the Internet 106 via

 broadband connection and communicate via VoIP over the Internet using packet switching. (JA-




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 CP 0096 at 7:7-27.) Thus, the ’428 Specification provides ample support for “receiving over a

 network at a call processing system a first call,” using both circuit switched and packet switched

 networks.

                4.     Defendants’ Sur-Reply Position

        CallWave apparently concedes that there is only a single network in Claims 10 and 16 of

 the ’428 Patent, as it offers no response to Defendants’ argument. Nor does CallWave appear to

 dispute that the patentee was required to disclaim call screening over a packet-switched network

 to overcome the Norris prior art during prosecution of the parent of the ’428 Patent. 20 Instead,

 CallWave asserts that the disclaimer was directed only to the network for the “second” or “new”

 call, and not for other calls. Because all three instances of “network” in these claims refer to a

 single network, a disclaimer as to the “new” or “second” network extends to each of the other

 references to “network” – each must refer to a circuit-switched network. 21

        Most of the rest of CallWave’s reply repeats the flawed arguments of its opening brief,

 which Defendants have already addressed above. CallWave also cites to 5:25‒27 of the ’428

 Patent, which is the only usage of “switched network” in the specification (other than a summary

 recitation of the claims). This passage, however, explains that the various devices are linked “to

 a Public Switched Network (PSTN) 104 and to a common data network, such as the Internet

 106.” JA-CP 95 5:26‒27. That is, the only use of “switched network” in the specification

 defines it as the PSTN, which as the parties agree, is a circuit-switched network. Lucantoni


 20
   CallWave states that “[t]o overcome Norris, the patentee amended the claim to require that the
 new call be directed to at least one of a POTs or wireless telephone” and “[t]he patentee argued
 that ‘Norris does not even discuss providing a caller phone number’ to a wireless phone or a
 POTS phone, as is required in claim 1 for the second call.” Supra.
 21
     As discussed above, this is consistent with the technical dictionary definition of “switched
 network” as “PSTN.” Contrary to CallWave’s assertion, “PSTN” is not merely an example, but
 is the entire definition of the term.” NEWTON’S TELECOM DICTIONARY 816 (16th ed. 2000).


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 Dec., ¶ 18. This passage also demonstrates that the specification describes packet-switched

 networks, such as the Internet, as “data networks,” not as “switched networks.”

        E.      Bridging the … [out]call and the … [out]call / causing … to be bridged

                1.        Plaintiff’s Opening Position

        Whether or not the Court decides to construe the terms “call” and “outcall,” the phrases

 “bridging the first/second call and the first/second outcall” and “causing the first/second call and

 first/second outcall to be bridged” need not be independently construed. The parties agree that

 “bridging[ed]” means “joining[ed]” - the dispute is over Defendants’ proposed construction of

 “call” and “outcall.”     If construed, these phrases should be construed to mean “joining the

 first/second call and the first/second outcall” and “causing the first/second call and first/second

 outcall to be joined.”

                2.        Defendants’ Answering Position

        Defendants’ construction is correct because it clarifies, consistent with the intrinsic

 record, that “bridging” facilitates communication by joining two previously independent circuits

 that pass voice and signaling information. CallWave does not dispute that “bridging the first call

 and the outcall” (and its variations) refers to the joining of two independent connections (the call

 and the outcall).

        A call connection process using bridging begins with a caller making a first call to a

 called party. JA-CP 96 at 8:39-41. Rather than being routed directly to the called party, this first

 call is received by a CPS (e.g., the IAM system). JA-CP 98 at 12:50-52. The CPS “answers” the

 first call, by establishing a full duplex, two-way talk path with the calling party. Id. at 12:57-59.

 The CPS then forms a separate call leg—the outcall—from the CPS to the called party’s phone.

 “At state 517, the IAM system 124 initiates a new call to the called party phone 112.” JA-CP

 99 at 13:21-22. Once these two independent calls each consisting of signaling and voice paths—


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 have been established, the CP system then performs the step of “bridging” the two call segments

 (the first call and the outcall). It acts as a bridge between the two. Id. at 13:25-27. “[T]he IAM

 system 124 then bridges, in full duplex mode, the inbound call between the calling party and

 IAM system 124 with the outbound call between the IAM system 124 and called party’s line

 114.” JA-CP 98 at 11:55-60.

        The following annotated figure (figure 5A from the ’428 Patent), provides a graphical

 representation of the “bridging” function:




        At “state 520” (i.e. row 20), the IAM system (i.e., the CPS) “bridges” by spanning the

 gap between two independent calls: a first call (blue arrow) between calling party 102 and IAM

 System (see state 506, “2-way talk path between IAM system 124 and Calling Party 102”) and a

 second call (green arrow) between IAM System and called party telephone 112 (see state 519,

 “IAM system 124 announces call to Called Party 112”). See also supra § A (“Background”).

 This same description of bridging, in which the CPS “bridges the two ends of [a] call together”



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 after a call has been answered (both signaling and voice path are present) is clearly detailed in

 the prosecution history as well. See Ex. 2, U.S. Prov. App. 60/719,635 at 15.

        The CP Patents are clear that a bridged telephone call provides users the same basic

 functionality as any other telephone call. For this to be true, both signaling information and a

 voice path must be connected. For example, a called party can hang up the phone “thereby

 terminating the bridged call.” JA-CP 100 at 16:66-17:10. Hanging up the phone provides an “on

 hook” signal—signaling that the call should be concluded.            This functionality would be

 unavailable if the connection of the calls was limited and did not include signaling information.

        In addition, since the entire point of any call (including a bridged call) is to allow the

 parties to speak, a bridged call must connect the voice paths of the call and outcall. This is

 further evidenced by the ability in certain embodiments for the user to be able to screen a call by

 listening to an audio message from the calling party in substantially real-time. Streaming this

 voice requires joining the voice paths of the call and outcall. 22

                3.      Plaintiff’s Reply Position

        The dispute with this phrase results from Defendants’ improper restrictions on the term

 “call” in requiring a “voice path” and “signaling information.”         As discussed above, the

 specification teaches that a call may have “data, voice and/or signaling information,” but does

 not require every call to have both voice and signaling information.

        First, Defendants cannot cite a single reference in which the patents state that bridging

 involves joining voice paths and signaling information. Nor do Defendants provide any evidence

 that a person of ordinary skill in the art would understand bridging to include those requirements


 22
    Regardless of what the call processing system or called party monitors, the basic components
 of signaling information and voice path must be included for any phone call, including a bridged
 phone call.


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 in light of the specification. Defendants provide only attorney argument, but fail to explain how

 their construction is compatible with the disclosed embodiments that use a packet-switching

 network in which there is no defined “voice path,” but merely connections opened long enough

 to send discrete packets. (Lucantoni Dec. at ¶¶ 14-15.)

        Second, Defendants’ construction is technically incorrect with regard to circuit switched

 networks. Defendants state that the allegedly independent circuits “pass voice and signaling

 information.”   The patent specifications teach otherwise, however, teaching that signaling

 information is not contained in the same circuit as the voice traffic. (JA-CP 0148 at 5:42-47.)

 Thus, the intrinsic record does not support Defendants’ argument that “bridging” joins “two

 previously independent circuits that pass voice and signaling information.”

        Third, Defendants contend that bridging occurs only after a voice path and signaling path

 has been established. The patent teaches otherwise. For example, Fig. 26 of the ’188 Patent

 describes that two calls ([1]inbound call from caller and [2] outbound call to subscriber) are

 bridged (step 1104A) before a talk path is opened to subscriber (step 1108A). Similarly, in the

 Provisional Application cited by Defendants, the “CallWave Softswitch bridges the two ends of

 the call together in step 4, then later in step 5, the Callee answers the phone and the Callee and

 the subscriber begin conversing. (Ex. 2 at 15.) Thus, at the time the bridging occurs, the Callee

 has not yet answered the phone so there is no voice path.

        Defendants’ construction is based on a false premise that “the entire point of any call . . .

 is to allow the parties to speak.” To the contrary, the entire purpose of CallerID functionality is

 to allow the called party to avoid speaking by not establishing a voice path if the called party

 determines that the call is unwanted.     This is further evidenced by the provision in some

 embodiments with only CallerID functionality, and no voice message.




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                 4.     Defendants’ Sur-Reply Position

          CallWave again premises its argument on the faulty position that a call need not comprise

 both voice and signaling. As discussed above, CallWave’s only support for this proposition is a

 truncated quote from the specification. CallWave also does not address Defendants’ argument

 that the CP Patents’ disclosure regarding bridging requires bridging two “calls” (i.e., comprising

 signaling and voice path).

          CallWave’s citation to a passage on the separation of signaling and voice is also off-

 point.    This passage does not address bridging, and does not address that both of these

 components are present at the time of bridging. The entire point of bridging two calls is to take

 two independent voice paths – one to the calling party and one to the called party – and join them

 at a central point to allow the calling and called party to converse. Eliminating the connection of

 two voice paths from the definition of bridging would contradict the purpose of the invention.

          Finally, CallWave argues that a passage from the prosecution history of a patent to which

 ’428 Patent does not claim priority supports its proposed construction. CallWave’s reference to

 this file history is of limited value because the ’428 Patent claims priority back to a 2002

 application that does not contain this disclosure.     Substantively, CallWave argues that the

 passage teaches bridging before two voice paths are available. It says no such thing and does not

 support CallWave’s construction.

          F.     Forward[ed]

                 1.     Plaintiff’s Opening Position

          “Forward[ed]” is a common English word that any judge or jury will readily understand,

 and the intrinsic evidence does not specially define it or disclaim any of its scope. If construed,

 the term should be construed according to its plain and ordinary meaning to mean “redirect[ed].”

 (Lucantoni Dec. at ¶ 22.)


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        While Defendants appear to agree that “forward” means “redirect,” Defendants tack on

 several additional limitations that are neither suggested by the claims nor supported by the

 intrinsic record and instead create ambiguities. For example, Defendants attempt to improperly

 limit what and why something can be forwarded by construing the term to mean “redirecting a

 call directed for a first destination to a second destination based on a predefined rule.”

        First, the claims themselves specify what is forwarded, thereby rendering the language “a

 call directed for a first destination to a second destination” redundant in some claims and, in

 other claims, results in a change in claim scope. For example, claim 3 of the ’188 Patent, claim

 21 of the ’901 Patent, and claim 55 of the ’428 Patent already expressly recite a specific call that

 is forwarded (i.e., “the first call is forwarded to the call processing system,” “the inbound call is

 a forwarded call,” “the first call is forwarded to the processing system,” respectively), while

 claims 10 and 16 of the ’428 Patent recite that a “caller” – not a “call” – is forwarded (i.e.,

 “forward the caller to a second terminal.”) (JA-CP 0102 at 20:44-45.)

        Second, nowhere in the intrinsic record is there any requirement that forwarding must be

 “based on a predefined rule.” (Lucantoni Dec. at ¶¶ 23-25.) To the contrary, the specification

 teaches that “the called party can, via a phone key press, voice commands, or otherwise, instruct

 the call processing system to … forward … the caller’s call to another target/second phone, such

 as a POTs phone, a wireless phone, a VoIP phone, a networked computer, or other

 communication device.” (JA-CP 0157 at 24:32-37; JA-CP 0249 at 24:21-26; see also, JA-CP

 0099-0100 at 14:59-15:3.) Such forwarding is not based on a predefined rule, but on commands

 (e.g., key press, voice commands, or otherwise) that a user may execute spontaneously to

 forward a call. Thus, Defendants’ construction excludes disclosed embodiments, which is rarely,

 if ever, correct. Oatey Co. v. IPS Corp., 514 F.3d 1271, 1276 (Fed. Cir. 2008). Nonetheless,




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 some of the asserted claims expressly recite that forwarding is based on an “instruction” (e.g.,

 claims 10 and 16 of the ’428 Patent) or on “at least one of a call forward on ring-no-answer

 condition, a call-forward-all calls condition, or of a forward-on-busy condition” (e.g., claim 3 of

 the ’188 Patent). In these instances, Defendants’ construction creates further ambiguity and

 confusion as to what is a “predefined rule” and whether the each of the aforementioned

 “instruction” and “conditions” is such a “predefined rule.”

                2.      Defendants’ Answering Position

        The term “forward” is consistently used in the specification of the CP Patents to refer to

 calls that are “forwarded . . . to the [call processing] system” using predefined rules implemented

 by the called party’s local phone company including “call forwarding on busy, call forwarding

 on ring-no-answer, and call-forward-all calls.” See JA-CP 93 at 2:25-30; JA-CP 95-98 at 5:52-

 56; 8:30-45; 10:27-30; 12:50-52. In numerous claims of the CP Patents, the term “forward” is

 used in a manner consistent with this disclosure – to refer to an initial forwarding of a call to the

 call processing system by the telephone company pursuant to a pre-defined rule (i.e., a rule that

 was defined before the incoming call was received). See e.g. JA-CP 20-21 at claims 13, 19, 29;

 JA-CP 104 at claim 55; JA-CP 181 at claims 3, 4; JA-CP 262-63 at claims 1, 21.

        While claims 10 and 16 of the ’428 Patent do not claim automatic forwarding within the

 telephone system, the term “forward” as used in those claims can (and should) be construed

 consistently with its usage throughout the remainder of the intrinsic record. Omega, 334 F.3d at

 1334 (stating that “unless otherwise compelled. . . the same claim term in the same patent or

 related patents carries the same construed meaning”). Both claims 10 and 16 recite “receiving an

 instruction from the called party to forward the caller to a second terminal” and subsequently

 “placing a third call from the [call processing] system . . . to the second terminal.” Consistent

 with the other usage of “forward” throughout the intrinsic record, the specification is clear that a


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 called party can “manually specify further call treatment” by providing an instruction through a

 menu of predefined options, such as “take the call on home phone,” or “take the call on office

 phone.” JA-CP 98 at 12:29-40.

        CallWave’s argument that the specification details “forwarding” through a non-

 predefined rule is mistaken. First, CallWave cites portions of the ’188 and ’901 specifications,

 neither of which contain claims that use “forwarding” with respect to a user input. See JA-CP

 181 at claim 3 and JA-CP 20-21 at claims 13, 19, 29, and 39-41 (all using “forward” in relation

 to forwarding to the call processing system.) In addition, CallWave cites to disclosure that did

 not appear in the ’428 Patent, and was added after the filing of the application for the ’428

 Patent. It is black letter law that new matter introduced in follow-on applications cannot be used

 to expand the scope of claim in earlier applications. Joao Bock Transaction Sys., LLC v. Jack

 Henry & Assocs., Inc., Case No. 12-1138-SLR at 3 (D. Del. Jun. 30, 2014) (finding that new

 matter must be disregarded in construing the scope and meaning of the claims) (citing Dresser

 Indus. Inc. v. United States, 432 F.2d 787, 793 (Ct. Cl. 1970)); Schering Corp. v. Amgen Inc.,

 222 F.3d 1347, 1353 (Fed. Cir. 2000) (interpreting “the claim at issue to cover no more than

 what the specification supported at the time of filing”).

        Plaintiff’s construction eviscerates the common understanding of the term “forward” held

 by those skilled in that art. A leading technical dictionary defines “forward” consistently with

 that term’s use in the CP Patents – as a feature that redirects incoming calls based upon a

 previously defined instruction: “[a] switch feature that temporarily redirects incoming calls. The

 incoming calls are redirected from the forwarding telephone to another destination by the person

 associated with the telephone or by the computing domain. The other destination has previously

 been defined to the switch by the device associated with the telephone.” Newton’s Telecom




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 Dictionary 333 (15th ed. 1999) (emphasis added). That common understanding is likewise

 repeated throughout the asserted patents and cannot be contradicted here. 23

                3.      Plaintiff’s Reply Position

        Defendants’ argument is based on its demonstrably mistaken assertion that “forward” is

 limited to calls that are “forwarded” using predefined rules. Yet, the patent specifications are

 replete with examples to the contrary. Moreover, the asserted claims themselves specify what is

 forwarded and to where. (JA-CP 0181 at 72:41-42; JA-CP 0263 at 51:14-15, 51:32-33; JA-CP

 0104 at 23:50-51; JA-CP 0102 at 20:44-45.)

        Claims 10 and 16 of the ’428 patent explicitly require “receiving an instruction from the

 called party to forward the caller to a second terminal.” Thus, the plain language of the claim

 requires the forwarding to result from an instruction from the called party, not based on a

 “predefined rule.” (JA-CP 0102-3 at 20:46; 21:4-7.) The claim also makes clear that the

 claimed invention allows the called party to “screen the caller,” thereby allowing the caller to

 make a spontaneous decision to instruct that the call be forwarded. (JA-CP 0103 at 21:1-3.)

        Defendants admit that the patents include embodiments that are not based on a predefined

 rule, and thus seek to construe their own construction by arguing that the “predefined rule”

 includes the called party “manually specify[ing] further call treatment” by providing an

 instruction. In other words, under Defendants new construction, a predefined rule is not a rule

 that must be followed, but an option available to the user. Citing call forwarding examples

 disclosed in the ’428 patent (JA-CP 0098 at 12:29-40), Defendants admit that their definition of


 23
    To the extent that Plaintiff is attempting to suggest that any call can be forwarded at any time,
 that suggestion is inaccurate. As the definition above (and all the examples in the specification)
 demonstrates, a call can be “forwarded” before the call is answered—when it is “incoming.”
 When somebody “redirects” an on-going call to a different line, that movement of the call is not
 referred to as a “forward”, rather it is a transfer.


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 “predefined rule” is met by selection of “predefined options” such as menus of visual or voice

 options and the like which may be “manually specified” by the called party. (Id. at 12:20-40.)

 But the specification makes clear that use of an explicit menu is optional and that other selection

 methods are contemplated. (Id., “[T]he options can be provided via a visual menu, a voice

 menu, or the like.”) Those skilled in the art would understand that the called party may make the

 selection by “a phone key press, voice commands, or otherwise, instruct the call processing

 system to … forward … the caller’s call to another target/second phone, such as a POTs phone,

 a wireless phone, a VoIP phone, a networked computer, or other communication device.” (JA-

 CP 0157 at 24:32-37; JA-CP 0249 at 24:21-26; see also, JA-CP 0099-0100 at 14:59-15:3 24.)

        Defendants further contend that a call may only be forwarded before a call is answered

 and not while the call is ongoing. But the intrinsic record makes clear that a call may be

 forwarded during the call. For example, each of claims 10 and 16 of the ’428 Patent recite

 “receiving an instruction from the called party to forward the caller to a second terminal,” which

 puts no limitations on when a call may be forwarded. (JA-CP 0102 at 20:44-45; JA-CP 0103 at

 21:4-5.) Moreover, the inventors stated explicitly, “The called party can optionally forward the

 call back to their cell phone or to another phone/phone line during the call with the called party

 by pressing an appropriate phone key, such as the “2” key. (JA-CP 0069 at 29:8-11. See also

 JA-CP 0069 at 25:22-28; 25:33-38, 25:55-64, 26:10-36.) Ignoring actual usage of the term by

 the inventors, Defendants rely only on attorney interpretations of dictionary definitions which do

 not overcome the overwhelming evidence from the intrinsic record.



 24
     Defendants falsely allege that CallWave seeks to expand the scope of “forwarding” in the
 ’428 Patent. To the contrary, CallWave insists that the claims be given the claimed scope.
 Defendants’ argument about new matter is unavailing because the claimed subject matter was in
 the original application from which the ’428 patent derived. (See Ex. 5 at 32 (claim 14.).


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                4.      Defendants’ Sur-Reply Position

        CallWave acknowledges that the CP Patents disclose predefined call forwarding options,

 but argues that, because the patents disclose other call handling options that are not predefined,

 this somehow means that forwarding also need not be predefined. CallWave cites no intrinsic

 evidence to support this argument.

        Similarly, CallWave states that the CP Patents contemplate forwarding during a call. In

 support, CallWave cites the ’110 Patent (“[t]he called party can optionally forward the call back

 to their cell phone . . . during the call”). This same disclosure does not appear in the ’428 Patent,

 whose claims CallWave cites as exemplary regarding the forward feature, and in fact, this

 disclosure was added only to later specifications. CallWave cannot rely on new matter to

 artificially expand the scope of this claim term. See Joao, No. 12-1138-SLR at 3.

        G.      Transfer[ring]

                1.      Plaintiff’s Opening Position

        “Transfer[ring]” is a common English word that any judge or jury will readily

 understand, and the intrinsic evidence does not specially define it or disclaim any of its scope. If

 construed, the term should be construed according to its plain and ordinary meaning to mean

 “redirect[ing].” (Lucantoni Dec. at ¶ 26.)

        When viewed in light of the intrinsic record, it is clear that the patent uses the terms

 “forward” and “transfer” interchangeably to mean “redirect.” (Lucantoni Dec. at ¶¶ 27-29.)

 Defendants use “move” instead of “redirect,” but there is no apparent difference between them.

 Defendants, however, go further and tack on several limitations that are neither suggested by the

 claims nor supported by the intrinsic record and instead create ambiguities.

        For example, Defendants attempt to improperly limit what and where something can be

 transferred by construing the term to mean “moving a call from a first device to a second device


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 identified by the user of the first device.” But, a subset of the claims themselves specify what is

 transferred and to where, thereby rendering the language “a call from a first device to a second

 device” redundant. For example, each of claims 19, 23, and 41 of the ’110 Patent, claim 23 of

 the ’901 Patent, and claim 11 of the ’188 Patent already expressly recites what is transferred and

 to where (i.e., “transfer[ring] the call to a/the first/second alternate destination,” “transfer the call

 to another phone address,” “transferring the third call to a destination associated with the

 subscriber,” respectively). Moreover, the remaining claims (claim 26 of the ’428 Patent and

 claim 14 of the ’188 Patent) instead recite a “call transfer instruction” and a “transfer

 destination.” Replacing “transfer” with Defendants’ proposed definition in those claims renders

 them nonsensical and further highlights the deficiencies in Defendants’ construction.

         Furthermore, the intrinsic record does not require that the transfer destination must be

 “identified by the user of the first device.” Whereas claim 26 of the ’428 Patent explicitly recites

 “enabling the called party to provide a call transfer instruction via the wireless phone . . .”, the

 claim does not specify by whom the destination must be chosen. (JA-CP 0103 at 21:58-59.)

 Moreover, claim 19 of the ’110 Patent only requires a single destination (i.e., a first alternate

 destination). (JA-CP 0080 at 51:28.) As there is only one required alternate destination, there

 may be no need to explicitly “identify” the second device. Nothing in the specification disclaims

 the scope of the claims as written.

         Defendant’s proposed construction also limits the transfer to occur from one “device” to

 a second “device.” The term “device” is ambiguous. For example, the specification describes a

 “software telephone,” which is certainly within the scope of the claim. (JA-CP 0200 at 9:21-23.)

 Also, if the callee instructs the call to be transferred to voicemail, that voicemail might be stored

 at some server, server farm, etc., in the cloud, and it is unclear whether defendants’ construction




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 would preclude such as transfer. (Lucantoni Dec. at ¶ 30.)

        Other intrinsic evidence shows that transferring is not necessarily directed to a “device”,

 depending on how that term is interpreted. For example, claim 14 of the ‘188 Patent recites,

 “while the first outcall is in process, receiving at the call processing system a call transfer request

 from the subscriber, wherein the call transfer request is associated with a transfer destination.”

 (JA-CP 0182 at 73:15-18; Lucantoni Dec. at ¶ 31.) The claim should not be construed to

 preclude such embodiments, and it is unclear whether defendants are attempting to do so.

                2.      Defendants’ Answering Position

        The term “transfer” as used in the CP Patents refers to moving a call from a first

 destination to another specified destination. For example, Claim 19 of the ’110 Patent requires

 giving a called party the call handling option of “transfer[ring] the call to a first alternate

 destination,” after screening an incoming call. JA-CP 80 at 51:28. Claim 14 of the ’188 Patent

 requires “placing a third outcall to the transfer destination.” JA-CP 182 at 73:19-21. As used in

 the claim language, the term simply describes the act of moving a call from a first device to a

 specified second device.

        The patents’ use of “transfer” is consistent with the meaning to one of ordinary skill in

 the art.   For example, a leading technical dictionary provides the following definition of

 “transfer”: A telephone system feature which provides the ability to move a call from one

 extension to another.” Newton’s Telecom Dictionary 811 (15th ed. 1999) (emphasis added).

 Transfers thus move a call from one phone extension to a second specified phone extension. The

 specification repeatedly confirms this fundamental and widely understood function, noting that a

 called party can take a call on a landline home phone and “manually transfer the call to the called

 party’s wireless, mobile cellphone in order to continue the conversation with the caller.” Id. The

 called party simply enters a command that includes a new telephone number (or some other


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 shortened code) to select which destination will receive the transfer. JA-CP 159-160 at 28:62-

 29:1. The asserted patents all contain extensive descriptions of the well-known process whereby

 a party receiving a call can select a new destination to receive a transferred call:

        based on the called party selecting option (4) [call transfer], the Client application
        sends a corresponding instruction to the IAM system 1124 along with a
        specification of the desired destination station phone number. The destination
        number specification can be an index into the subscriber's electronic phone book
        or may literally be the desired destination phone number.)

 JA-CP 63 at 18:12-19; see also JA-CP 158 at 25:14-34; see also JA-CP 67 at 26:33-36;

 JA-CP 53 at Fig. 25B (element 1012).

        Despite this evidence, Plaintiff contends that “the patent uses the terms ‘forward’ and

 ‘transfer’ interchangeably to broadly mean ‘redirect’” a construction that obliterates the

 fundamental differences between these functions. 25 But, these are technical terms with distinct

 meanings in the art, and those same meanings are reflected in the intrinsic record. There simply

 is no indication that the patentee intended to redefine the terms “forward” and “transfer” in the

 manner proposed by Plaintiff. To blur the lines between these terms now, and construe these

 terms “in a manner different from the[ir] plain import” would be “unjust to the public” and allow

 the patentee to avoid his obligation to “define [his invention] precisely.” Phillips v. AWH Corp.,

 415 F.3d 1303, 1312 (Fed. Cir. 2005) (citations omitted). 26

                3.      Plaintiff’s Reply Position

        The asserted claims themselves either specify what is transferred and to where, or instead


 25
   CallWave accuses a single function in each of Defendants’ products as being both a “transfer”
 and a “forward.” A single accused function cannot be both – much less additionally be the
 “handling” and “redirection” functions, as CallWave asserts.
 26
    Nor can CallWave discredit Defendants’ proposed construction by claiming that the word
 “device” is unduly limiting. Defendants’ used the generic term device to avoid any argument
 that it was crafting language (e.g., “phone”) that would not include the full complement of
 telephone devices.


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 recite a “call transfer instruction [request]” or “transfer destination.” (JA-CP 0080 at 51:28,

 51:43-44, 52:29-30; JA-CP 0263 at 52:5-6; JA-CP 0182 at 73:2-3; JA-CP 0103 at 21:57; JA-CP

 0182 at 73:15-19.) Defendants do not dispute that the intrinsic record does not require that the

 transfer destination be “identified by the user of the first device.” Though Defendants point to a

 dictionary in support of its proposed construction, notably even this dictionary definition does

 not limit by whom the transfer destination may be identified or even whether such an

 identification must be made. Thus, this additional limitation is not warranted.

        What does appear to be in dispute is Defendants’ use of the term “device” in its proposed

 construction.    While Defendants now clarify that “device” is intended to include “the full

 complement of telephone devices,” it remains unclear if this “construction of the construction”

 impermissibly precludes the transfer of calls to such locations as “software telephones” (residing,

 e.g., on a personal computer), voicemail (stored, e.g., on a server, in the cloud, or elsewhere), or

 broadly to a “transfer destination” as each of these examples are expressly contemplated by the

 patent (JA-CP 0200 at 9:21-23; JA-CP 0249 at 24:42-59; JA-CP 0182 at 73:15-18; Lucantoni

 Dec. at ¶ 30.)

        Finally, Defendants incorrectly contend that the patentee never intended to use the terms

 “forward” and “transfer” interchangeably to mean “redirect,” and present a preview of their non-

 infringement position by arguing that no single functionality in Defendants’ products can be both

 a “transfer” and a “forward.” First, there are numerous examples where the patentee uses

 “forward” and “transfer” synonymously. For example, each of the ’428, ’188, and ’901 Patents

 describes that an “option 5” is selected to continue screening a call after transferring it to an

 alternate destination. (JA-CP 0099 at 14:16-37; JA-CP 0155 at 19:7-28; JA-CP 0246-247 at

 18:62-19:16. See also JA-CP 0097 at 9:29-30; JA-CP 0152 at 14:11-12; JA-CP 0244 at 13:62-




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 64.) The specification goes on to interchangeably use “forwarded” and “transferred” to describe

 the transferred call:

      The call setup signaling information for this outbound call is modified by the IAM system 124 to
      deliver the calling party number from the inbound call in the outbound call’s ANI field. This
      allows the forwarded destination station to display the “original Caller-ID” to use as a first level
      filter for remotely screening the call. Should the remote called party decide to ignore this call,
      they simply do not answer it and the IAM system 124 will abort the transferred call attempt
      after a programmable time interval or a programmable number of ring cycles. (JA-CP 0099 at
      14:38-49 (emphasis added); JA-CP 0155 at 19:29-40; JA-CP 0247 at 19:17-28.)

 That is, although it is clear that a transferred call attempt is being discussed, the destination of

 said transferred call is referred to as “the forwarded destination.”

          Similarly, in each of the ’188 and ’901 Patents, a call transfer process is described

 wherein after the outcall is successfully connected to the transfer destination, e.g., a wireless cell

 phone, “the called party can press a key to generate a tone, such as DTMF 2, to transfer the call

 to their home.” (JA-CP 0159 at 28:62-65; JA-CP 0251 at 28:51-54. See also JA-CP 0159-160 at

 28:9-29:31; JA-CP 0251-252 at 27:65-29:20.) The specification further describes that “[t]he

 called party can optionally forward the call back to their cell phone … during the call … by

 pressing an appropriate phone key, such as the ‘2’ key.” (JA-CP 0160 at 29:28-31; JA-CP 0252

 at 29:17-20.) Here again, it is clear that “transfer” and “forward” are used synonymously to

 describe redirecting a call, in this case after the call has been answered.

          Finally, while “transfer” and “forward” are indeed used interchangeably throughout the

 patents and asserted claims, the two terms are never used simultaneously within the same claim

 or in any manner implying that either term should be given any different scope or meaning from

 the other beyond the context of the claim in which they appear. 27 Thus, Defendants objections to


 27
    In particular, both terms are used in each of the ’901, ’428, and ’188 Patents with “forward”
 appearing only in claim 21 of the ’901 Patent, claims 10, 16, and 55 of the ’428 Patent, and claim
 3 of the ’188 Patent; and “transfer” appearing only in claim 23 of the ’901 Patent, claim 26 of the
 ’428 Patent, and claims 11 and 14 of the ’188 Patent.


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 “transfer” and “forward” being construed identically are unfounded.

                4.      Defendants’ Sur-Reply Position

        As reflected in Defendants’ construction, the term “transfer” is used consistently in the

 CP Patents to refer to a choice to move a call from a first device (e.g., telephone) to a specific

 second device (e.g., telephone). Even the embodiments CallWave relies on to claim ambiguity

 (e.g., software phone) consistently have a “device” (e.g., personal computer hosting the software

 phone) to which the call is transferred.

        CallWave again argues that the patentee acted as his own lexicographer in defining

 “forward” and “transfer” commonly. But, to act as his own lexicographer, the patentee “must

 clearly express that intent in the written description.” Merck, 395 F.3d at 1370. CallWave has

 not cited, and the CP Patents do not contain, any such explicit disclosure. CallWave relies on a

 passage related to a single call handling option described as “Option 5,” but this passage uses the

 term “forwarded” to clarify that the CPS, not the end device, forwards the call to the end device.

 See JA-CP 0099 at 14:40-45. Even if CallWave were correct, a single instance of careless

 language cannot outweigh the bulk of the disclosure, or serve as proof that the patentee intended

 that two distinct terms – “transfer” and “forward” – should have a common meaning. See CAE

 Screenplates v. Heinrich Fiedler GmbH, 224 F. 3d 1308, 1317 (Fed. Cir. 2000) (“In the absence

 of any evidence to the contrary, we must presume that the use of these different terms in the

 claims connotes different meanings.”).

        H.      Call handling

                1.      Plaintiff’s Opening Position

        No specialized construction of “call handling” is required. If construed, “call handling”

 should be construed to mean “call management.”            CallWave’s proposed construction is

 supported by the specification. Figure 18 of the ‘110 Patent discloses a “call handling options


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 dialog box” depicting, for example, seven different call handling options. (JA-CP 0061 at 13:44-

 14:5.) The specification later refers to these seven “call handling options” as “call management

 options.”   (JA-CP 0065 at 21:1-2.)      Thus, CallWave’s construction is consistent with the

 specifications.

        Unlike CallWave’s construction, Defendants’ construction is inconsistent with the claims

 and specifications. Specifically, Defendants require the handling of an incoming call “before

 establishment of a two-way voice communication.” The claims do not require such a limitation,

 but the specification gives numerous examples in which the call handling process takes place

 after the establishment of a two-way voice communication. For example, the ‘110 Patent teaches

 that the called party can provide the call handling instruction “during the conversation with the

 caller….” (JA-CP 0067 at 25:33-38.) In another example, the specification discloses that “the

 called party can elect to manually transfer the call to the called party’s wireless, mobile cell

 phone in order to continue the conversation with the caller after leaving home.” (JA-CP 0068 at

 27:11-18.) The specification provides teachings about how to handle the call “if the user

 instruction to transfer the call occurred during the call….” (JA-CP 0068 at 27:24-29.) In each of

 these examples, the specification expressly describes call handling taking place after the

 establishment of two-way voice communication.

                   2.   Defendants’ Answering Position

        Defendants’ construction gives meaning to the term “call handling” that is consistent with

 the intrinsic record. “Call handling” is a corollary function to “call screening.” While screening

 an incoming call, the called party is given “call handling options.” JA-CP 80 at claim 19; JA-CP

 263 at claim 25. This clear relationship is reflected in both the claims and specification. Read in

 context, it is indisputable that the “call handling” options are made available to the called party

 during the call screening process. Figure 4 of the ’110 and ’901 Patents, provided below, details


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 the “call handling decision” being made directly after the call screening process (element 37

 refers to collection of call screening information, which is provided to the called party). JA-CP

 57 at 6:27-34.




 Indeed, both claim 19 of the ’110 Patent and claim 25 of the ’901 Patent start by stating that the

 purpose of the claimed method is to give the called party the “ability to screen calls.”

        The specifications of the ’110/’901 Patents are consistent with Defendants’ construction.

 For example, the specification of the ’110 Patent teaches that while a called party is screening an

 incoming call, the system may provide a number of call handling options, including: answering

 the call on a computer, a home phone, or an alternate phone; transferring the call; or terminating

 the call. JA-CP 98 at 11:61-63 (“the user can specify call handling rules that determine, at least

 in part, the call treatment for an incoming call based on one or more conditions”) (emphasis

 added); see also JA-CP 61-62 at 13:44-64, 13:44-14:5, Fig. 18; JA-CP 98 at 9:14-41, Fig. 18. In

 each of the descriptions of call handling provided in the specification, actions are taken by the

 system (1) in response to an incoming call and (2) prior to the opening of a two-way call path

 (i.e., commencement of voice communications between the caller and the called party).




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        In contrast to Defendants’ construction, which is rooted in the intrinsic record, CallWave

 proposes a construction, “call management,” that is unbounded in the time or manner of

 performance.    Under CallWave’s construction, hanging up the telephone at the end of a

 telephone conversation would satisfy this claim term, because it is a form of call “management.

 None of the evidence cited by CallWave supports this premise or even uses the terms “call

 handling.” Rather, CallWave points to a transfer function that can take place after two-way

 communications are setup. While this function may be described in the disclosure, CallWave

 has not identified any evidence that ties this function to “call handling.”

        Plaintiff’s proposed construction also has limited value because it merely replaces the

 word “handling” with “management.” Claim construction is not simply a matter of finding

 synonymous language. Rather, the purpose is to provide a definition that is “at least somewhat

 more precise than an intuitive understanding” of the claim term. Unitherm Food Sys., Inc. v.

 Swift-Eckrich, Inc., 375 F.3d 1341, 1351 (Fed. Cir. 2004). CallWave’s construction does not

 achieve this most basic goal.

                3.      Plaintiff’s Reply Position

        Defendants improperly construe “call handling” to require a call handling action take

 place before a two-way voice communication. Both the claims and specification refute this

 overly narrow construction. For example, claim 25 of the ’901 Patent includes the steps of

 “answering the inbound call” and “receiving a call handling instruction.” (JA-CP 0263 at 52:10-

 24.) Claim 25 allows for the call to be answered (i.e., establishment of a two-way voice

 communication) before the call handling instruction is received. This is opposite of Defendants’

 proposed construction which requires the call to be answered after the call handling instruction

 is received.

        Further, figures 19A and 19B in the ’901 Patent disclose a call processing workflow in


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 which a two-way voice communication is established before the handling of an incoming call

 attempt. (JA-CP 0227-228.) “At state 1406, the PSTN 1104 establishes a full duplex, 2-way talk

 path with the calling party.” (JA-CP 0245 at 15:6-8.) “At state 1413, the called party notifies

 the IAM system 1124 that the called party wants to take the call.” (Id. at 15:28-29.) Thus, the

 call handling occurs after the establishment of a two-way voice communication.

        Defendants rely only on attorney argument. For example, Fig. 4 of the ’110 Patent shows

 that the “Call Handling Decision” occurs after the call screening process, yet nothing supports

 Defendants conclusion that the call handling must occur before the two-way communication

 begins. Fig. 4 just as readily supports the conclusion that the call handling occurs after the call

 screening is complete and the two-way communication has begun. The specification supports

 both scenarios, stating:

        Optionally, the called party can provide the instruction to connect the call to
        another phone before initiating the conversation with the caller, such as while
        screening the call, or during the conversation with the caller, such as after
        accepting the initial call bridged to the called party by the call processing system.

 (JA-CP 0067 at 25:33-38.) Similarly, Fig. 23 of the ’110 Patent shows that the patentee used the

 word “handle” to describe the transfer function, whether it occurs during call screening (Handle

 Transfer 2308) or after the call is connected (Handle Transfer 2316.) (JA-CP 0050.)

                4.      Defendants’ Sur-Reply Position

        CallWave relies upon claim 25 of the ’901 Patent to support its argument that the CP

 Patents contemplate call handling instructions after a call has been answered, and two-way

 communications have been established. CallWave’s citation fails to support its position because

 claim 25 states that prior to the call handling instruction, the call is answered by the call

 processing system, not the called party. This claim, like the rest of the intrinsic record, is

 consistent with Defendant’s construction in which a call handling instruction occurs before two-



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 way voice communications with the called party. 28 CallWave’s argument regarding claims 19A

 and 19B of the ’901 Patent are similarly flawed, as they do not show a two-way communication

 established with the called party prior to the call handling instruction.

        CallWave’s commentary regarding Fig. 4 of the ’901 and ’110 Patents is similarly

 misguided. The figure and associated disclosure are clear that the call handling decision comes

 directly after “an incoming call” and the “system identifies the [calling party]” for screening

 purposes. JA-CP 0057 at 6:6-34. CallWave also relies on an unrelated disclosure, describing

 “[a]n example call transfer process,” not a “call handling” process. JA-CP 0066 at 35. This

 disclosure has no relevance to call handling or the call screening process.

        I.      Call redirection instruction

                1.        Plaintiff’s Opening Position

        Defendants ask the Court to construe “call redirection instruction.” This phrase is easily

 understood in the context of the claims and the specification and does not require specialized or

 limiting construction.     If the Court determines construction is necessary, “call redirection

 instruction” should be construed as an “instruction to redirect a call.”

        The specification provides several examples of call redirection instructions.          For

 example, FIG. 3 of the ’588 Patent shows an example menu of call screening/handling options

 available to the called party when receiving an inbound call. (JA-CP 0191; JA-CP 0197 at 4:40-

 42.) The corresponding text in the specification describes several “options” available to the

 called party. (JA-CP 0200 at 9:20-33.) Certain of those options include an instruction to redirect


 28
    Defendants believe their construction is clear that a call handling instruction must occur
 “before establishment of a two-way voice communication” with the called party. If clarification
 is needed, Defendants would consent to the following modified construction: “handling of an
 incoming call attempt before establishment of a two-way voice communication with the called
 party.”


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 the call. For example, a call redirection instruction (Option 3) can indicate that the called party

 wishes to “pickup (answer) the call to talk to the caller using the ‘home phone’ on the phone line

 used to connect to the Internet (the user telephone station 112).” (Id. at 9:24-26.) A call

 redirection instruction (Option 4) can also indicate that the called party wishes to “pickup

 (answer) the call to talk to the caller after transferring the call to an alternate phone or to an

 alternate PC.” (Id. at 9:27-28.) Another call redirection instruction (Option 5) can indicate the

 called party wishes to “continue screening the call after transferring it to an alternate phone or to

 an alternate PC.” (Id. at 9:29-30.) Call redirection instructions, however, are not limited to the

 exemplary “call screening/handling” options described in FIG. 3. The specification describes an

 embodiment of the invention where the “IAM system 124 will stay bridged between the calling

 party and the called party for the duration of the call and may respond to internal events or called

 party actions.” (Id. at 10:4-6; JA-CP 0203 at 15:4-7.) A person of ordinary skill in the art would

 understand these internal events or called party actions to include various methods to indicate

 call redirection options such as transferring or redirecting the call. (Lucantoni Dec. at ¶ 32.)

 CallWave’s proposed construction, an “instruction to redirect a call,” is consistent with and

 supported by these disclosed embodiments.

        Defendants’ proposed construction is ambiguous and unclear. Defendants propose to

 define call redirection instruction as “an instruction to move a call from a first device to a second

 device identified by the user of the first device during the call screening process.” It is not clear

 what constitutes a “device” under Defendants’ construction. For example, the specification

 describes a “software telephone,” which is certainly within the scope of the claim. (JA-CP 0200

 9:21-23.) Because the terms “device,” “first device,” and “second device” are not found in the

 claim, substitution of Defendants’ proposed construction would lead to confusing and




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 nonsensical claim language.

         Defendants’ proposed construction also imports an ambiguous (and unsupported)

 temporal limitation: “during the call screening process.” But which element of Defendants’

 proposed construction must occur during the call screening process: the instruction to move a

 call, the movement of the call from a first device to a second device, or the identification of the

 second device by the user of the first device? Moreover, what events or steps define the

 boundaries of the “call screening process?” Defendants’ proposed construction thus combines

 undefined elements with ambiguous limitations, neither of which are supported by the intrinsic

 evidence.

                 2.       Defendants’ Answering Position

         First, proper construction of this claim term requires “redirection.” To “direct” a call

 requires that it be sent to a specific destination (e.g., a specific device). Just as an initial call is

 “directed” to a specific number, a “redirection” is also specifically targeted to arrive at a

 specified destination.     This is consistent with the only usage of “redirect[ion]” in the

 specification, which relates to redirection of the call from network equipment to the call

 processing system upon a ring no-answer/busy condition. JA-CP 196 at 1:21-26. This is also

 consistent with the functionality in the specification that tracks with the claim language, in which

 an incoming call is sent “to an alternate phone or to an alternate PC.” JA-CP 200 at 9:24-30; JA-

 CP 202 at 14:29-33.

         Second, the language of the claims is clear regarding the timing of the call redirection

 instruction. The claims require that the called party receive a new call having the calling party’s

 signaling information “so that the called party can determine the identity of the caller” (i.e.,

 screen the call) and in response, provide a call redirection instruction. JA-CP 205 at 19:29-30.

 In the context of the claims, the call redirection instruction must take place during the call


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 screening process.

         In contrast, Plaintiff’s construction does nothing more than rearrange the order of the

 words “call – redirection – instruction” to “instruction – redirect – call.” This cannot be a proper

 claim construction, as it fails to provide any contextual insight into the meaning of the term as

 understood by one of skill in the art. Funai Elec. Co. v. Daewoo Elec. Corp., 616 F.3d 1357,

 1372 (Fed. Cir. 2010) (“words of a patent claim are capable of many meanings; we must

 translate them into the underlying purpose of their user.”).

                3.      Plaintiff’s Reply Position

         The phrase “call redirection instruction” is easily understood and does not require

 specialized construction. The phrase is clearly intended to capture any instruction that redirects a

 call.   Defendants apparently agree that “call redirection instruction” includes “transfer”

 instructions as their “call redirection instruction” construction mirrors their overly restrictive

 construction for “transfer.” Yet, Defendants seek to further narrow the phrase to only the subset

 of transfer instructions that occur “during the call screening process.”

         Defendants provide no clarification as to when call screening process begins and ends, so

 their proposed limitation is ambiguous.     But, the ’588 Patent specification explicitly discloses

 exemplary embodiments where the call redirection instruction can occur throughout the

 “duration of the call.” (JA-CP 0200 at 10:4-6; JA-CP 0203 at 15:8-11.) Moreover, as discussed

 above with respect to “call handling,” the specification clearly teaches that instructions to

 transfer may occur before or after the call is answered by the caller. Depending on how the jury

 might resolve the question of when the “call screening process ends,” Defendants’ proposed

 construction may exclude this embodiment and, thus, cannot be correct.

         Defendants’ proposed construction also requires moving the call to a second device

 “identified by the user of the first device.” The ’588 Patent specification discloses several


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 exemplary embodiments of call redirection instructions, including a call redirection instruction to

 “multiparty conference,” i.e., “broadcast to multiple phones and IP Clients substantially at the

 same time.” (JA-CP 00204 at 18:40-42.) It is not clear whether or not this embodiment is

 captured by Defendants’ proposed construction - Defendants’ proposed construction necessitates

 further construction of terms and phrases not found within the ’588 Patent claims or

 specification.

                  4.     Defendants’ Sur-Reply Position

        CallWave relies on “exemplary embodiments,” which generically reference “external

 events or called party actions” and not a “call redirection instruction.” JA-CP 0202 at 15:8-11.

 CallWave also argues that Defendants’ construction is ambiguous because the term “call

 screening process” does not have a clear beginning or end.             But the purpose of “call

 screening,” – the process of deciding whether (or how) to take an incoming call – marks the

 boundaries of the call screen process. This process logically begins when the called party

 receives the identity of the caller (e.g., caller-ID), and must be completed before the

 establishment of two-way communications between the calling and called party.             Further,

 moving an incoming call “from a first device to a second device” does not “read out” “multiparty

 conference[s]” – the CP Patents never reference a multiparty conference as call redirection. In

 fact, the embodiment that CallWave cites does not involve any “redirection,” and would not even

 be encompassed by CallWave’s own construction.

        J.        Causing the first entity call to be selectively connected to one of a
                  plurality of potential second entity terminal destinations

                  1.     Plaintiff’s Opening Position

        First, this term is straightforward and no specialized construction is necessary. Rather, it

 should be understood according to its plain and ordinary meaning.           If however, the Court



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 determines that construction is necessary, the term should be construed as: “causing the first

 entity call to be connected to a selected one of a plurality of terminal destinations associated with

 the second entity.” This proposed construction observes the fact that “selectively” is clearly

 taught to refer to the selection of “one” of the terminal destinations to which to connect an

 incoming call. It further makes clear that the “second entity terminal destinations” are those

 destinations that are “associated with the second entity.” In contrast, Defendants’ proposed

 construction, “causing a connection to the one of a plurality of potential terminals selected by the

 second entity,” impermissibly associates the “selectively” term with the “plurality of potential

 destinations” rather than the selection of “one” particular terminal destination to which to

 connect the instant call. This construction is starkly at odds with the intrinsic record.

        First, claim 1 of the ‘910 Patent read as a whole, makes clear that “selectively” refers to

 selecting “one” particular destination to which to connect a particular call, based on information

 received about the incoming call or caller. Indeed, the term “selectively” is used in in the

 preamble in this very sense: “A method of providing a called entity the ability to selectively

 accept phone calls, the method comprising….” (JA-CP 0020 at 7:29-30.) After reciting how the

 patented technology enables a called entity (referred to as the “second entity”) to consider some

 recorded speech from an incoming caller (the “first entity”), the claim makes clear that the

 second entity is enabled to provide an instruction to the patented system (“receiving an

 instruction, over the Internet communication channel from the second entity via the networked

 computer, and at least partly in response to the received instruction”) by which the second entity

 selects the terminal destination to which to connect the call: “causing the first entity call to be

 selectively connected to one of a plurality of potential second entity terminal destinations.”

 Thus, sound principles of claim construction demonstrate that “selectively” refers to the selection




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 of the “terminal destination,” not the “plurality of potential” destinations as proposed by

 Defendants. See, e.g., In re Gulack, 703 F.2d 1381, 1385 (Fed. Cir. 1983) (“The claim must be

 read as a whole.”).

        The plain and uncontroverted teaching of the specification further reinforces this proper

 understanding of the role of the word “selectively” in the claims. The Abstract introduces the

 invention by noting: “the content of the spoken message [from the calling entity] permits the

 called party to decide how to handle the call.” The specification further explicitly teaches how

 the called party, or subscriber, can handle calls on the fly by making a decision how to direct the

 call upon hearing some information about the incoming call:

        The client or subscriber has many ways to deal with an incoming call. He can
        elect not to answer and to take a message, or he can have the call played through
        the personal desktop computer 25 and talk to the caller via the Internet 26, or he
        can have the call transferred to a different instrument such as a second telephone
        24 (FIG. 1) or a cell phone 45 (FIG. 5). There is another way for the subscriber to
        handle a call. While the central server 29 is holding the call, the client can pick
        up a cell phone or a regular POTS phone and call in to the central server 29 and
        have a call cross-connect right there.

 (JA-CP 0019 at 6:1-11.)

        Thus, the specification makes clear the called party is selecting the “terminal destination”

 to which to connect an incoming call, and not, as Defendants’ construction would require,

 selecting a group of “potential second entity terminal destinations” to which an incoming call

 may be connected.

                2.     Defendants’ Answering Position

        Defendants’ construction is supported by the language of the claims. For example, Claim

 1 of the ’910 Patent involves “a call from a first entity directed to a second entity’s virtual

 telephone number” (JA-CP 20 at 7:31-33), wherein the second entity can listen to recorded

 speech from the first entity “played by the network computer to the second entity” (’910 Patent



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 7:38-39). The second entity then has the ability, in the words of the claim, to send an instruction

 to the call processing system “causing the first entity call to be selectively connected to one of a

 plurality of potential second entity terminal destinations,” or in other words, send the call to one

 of the second entity’s plurality of devices so the call can be answered. Thus, in the context of the

 claim, this phrase should be understood to mean “causing a connection to the one of a plurality

 of potential terminals selected by the second entity.”

         The specification is consistent with this proposed construction, describing how after

 screening a call, a called party “can have the call played through the personal desktop computer

 25 and talk to the caller via the Internet 26, or he can have the call transferred to a different

 instrument such as a second telephone 24 (FIG. 1) or a cell phone 45 (FIG. 5).” In short, once

 the called party has screened the call, he can select the location where he wishes to be connected

 to the caller.

         Plaintiff offers a construction that is redundant of other portions of the same claim and

 contradicts the key language of the limitation. By inserting the language “at least partly in

 response,” which directly precedes this term within claim 1, Plaintiff’s construction is

 redundant. 29 In addition, Plaintiff’s proposal that an incoming call can be connected to any

 terminal “associated” with the second entity eliminates the term “selectively connected,” which

 focuses on how the connection is made, and replaces it with a results-oriented limitation that is

 satisfied as long as any connection is made.

         Plaintiff’s criticism of Defendants’ proposed construction has no merit. Plaintiff does not

 appear to dispute that the called party can select the destination of the call. Further, Plaintiff’s


 29
    The relevant portion of claim 1 reads: “and at least partly in response to the received
 instruction, causing the first entity call to be selectively connected to one of a plurality of
 potential second entity terminal destinations.”


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 mischaracterization that Defendants’ proposed construction involves “selecting a group” is

 controverted by the literal words of the definition. Contrary to Plaintiff’s argument, Defendants’

 proposed definition reflects that there exists a plurality of potential destination terminals and one

 of them is selected.

                3.      Plaintiff’s Reply Position

        Again, this term is straightforward and no specialized construction is necessary. To the

 extent any construction is necessary, Plaintiff’s construction observes the fact that “selectively”

 is clearly taught to refer to the selection of the “one” of the terminal destinations to which to

 connect an incoming call. In contrast, Defendants’ proposed construction, “causing a connection

 to the one of a plurality of potential terminals selected by the second entity,” impermissibly

 associates “selectively” with the “plurality of potential destinations” rather than the selection of

 “one” particular terminal destination to which to connect the instant call. As addressed in

 Plaintiff’s opening brief, such a construction is starkly at odds with the intrinsic record.

        Conspicuously, in their answering brief, Defendants appear to concede the relevant

 association of “selectively” with the “one” rather than the “plurality.”:

        Plaintiff does not appear to dispute that the called party can select the destination of the
        call. Further, Plaintiff’s mischaracterization that Defendants’ proposed construction
        involves “selecting a group” is controverted by the literal words of the definition.
        Contrary to Plaintiff’s argument, Defendants’ proposed definition reflects that there
        exists a plurality of potential destination terminals and one of them is selected.

 Thus, Defendants agree with the portion of Plaintiff’s construction that makes clear that

 “selectively” refers to the “one” rather than the “plurality” and do not contend that “selectively”

 refers to “selecting a group.” Importantly, however, Defendants’ proposed construction at best

 profoundly confuses this distinction (which all parties agree is correct), and at worst cannot be

 reconciled with this understanding at all. Based on Defendants’ argument, it is clear the parties

 are in agreement on the proper role of “selectively” – thus, to the extent the Court elects to


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 construe this term, it should adopt Plaintiff’s construction with regard to “selectively,” which

 observes the relationship of “selectively” to which the parties agree.

        The remaining issues argued by Defendants in support of their proposed construction are

 secondary in importance and result either from an error in reading Plaintiff’s proposed

 construction or a concern over a profoundly unlikely reading of it. Specifically, Defendants

 object that Plaintiff’s definition attempts to insert the redundancy of “at least partly in

 response….” Plainly, Plaintiff’s construction does not include such language; thus, this objection

 should be disregarded. Next, Defendants argue that Plaintiff’s construction, which renders the

 claim language “second entity terminal destinations” as “terminal destinations associated with

 the second entity,” somehow reads out the word “selectively.” Id. Although Plaintiff does not

 appreciate how this is the case, Plaintiff is nonetheless willing to default back to the actual

 language of the claim for this portion of the term, obviating this objection and resulting in a

 construction adjusted to accommodate Defendants’ objection: “causing the first entity call to be

 connected to a selected one of a plurality of potential second entity terminal destinations.”

                4.      Defendants’ Sur-Reply Position

        CallWave argues that Defendants’ construction misapplies the term “selectively

 connected to one” to the term “plurality of potential . . . destinations.” The disclosure is clear

 that the called party can switch an incoming call to one of several other potential devices. JA-CP

 0018 at 4:19-24. Defendants’ proposal reflects this concept, and is fully consistent with the

 claim language. In contrast, CallWave’s proposal merely parrots the claim language, provides

 no clarification, and leaves the term “selectively connected” open for interpretation. 30


 30
   CallWave’s odd assertion that its proposed construction “does not include such language,” is
 contradicted by Plaintiff’s proposal of this very construction in the Joint Claim Construction
 Statement. (See JA at Ex. 4.)


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          K.    Subscriber specified rule; subscriber instruction

                1.      Plaintiff’s Opening Position

          This term involves commonly understood words that a judge or jury can easily

 understand. If construed, it should be construed as it would be understood by a person of

 ordinary skill in the art to be “a rule or instruction specified by a subscriber.” (Lucantoni Dec. at

 ¶ 34.)

          Defendants’ construction, on the other hand, tries to limit the scope of the term by

 importing several limitations that are neither suggested by the claims nor supported by the

 intrinsic record. For example, independent claim 40 makes clear that the recited “subscriber” is

 “a subscriber of services offered by the call processing system.” (JA-CP 0183 at 75:37-38.)

 Meanwhile, claim 1, from which claim 11 depends, makes clear that the recited “subscriber” is a

 subscriber of “a call processing system.” (JA-CP 0181 at 72:11-13.) Yet Defendants improperly

 attempt to limit the term “subscriber” to a subscriber of a “phone service,” thereby creating

 confusion as to what is a “phone service 31,” and how, if at all, a “phone service” differs from the

 “services offered by the call processing system” in claim 40 or the “call processing system” in

 claim 11.

          Defendants further try to limit the scope of the term by requiring the “rule” or

 “instruction” to be “stored in the call processing system’s database,” which is neither suggested

 by the claims nor supported by the intrinsic record. Rather, claim 11 recites that the “subscriber

 specified rule” is read “from computer readable memory,” but it does not require that memory to

 be in a database of the call processing system. (Id. at 72:66-67.) Similarly, claim 40 merely


 31
    Indeed, Defendants’ construction for “call processing system” does not even include the
 words “phone service,” thereby further highlighting the inconsistencies of Defendants’
 construction here with the express claim language.


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 requires that the “subscriber instruction” be included in “an account record associated with the

 subscriber,” but does not require a so-called “database of the call processing system.” (JA-CP

 0183 at 75:41-43; Lucantoni Dec. at ¶ 35.)              Furthermore, those skilled in the art would

 understand that the call processing system could access databases other than its own to gather

 rules or instructions. (Lucantoni Dec. at ¶ 36.)

        Moreover, Defendants attempt to classify the “rule” or instruction” to be a “call handling

 rule,” when again, no such limitation can be found either within the claims or in the intrinsic

 record. Rather, claim 40 simply requires that the first outcall is placed “based at least in part on

 the subscriber instruction,” while claim 11 requires that the third call is transferred “based at

 least in part on one subscriber specified rule,” each of which begs the question: is placing an

 outcall or transferring a call based on the subscriber instruction/specified rule sufficient to make

 said instruction or rule a “call handling rule,” or must one construe the construction to determine

 what a “call handling rule” entails? (JA-CP 0183 at 75:44-46; JA-CP 0182 at 73:1-2.)

                2.      Defendants’ Answering Position

        Defendants’ proposed construction is consistent with, and supported by, the intrinsic

 record. The asserted patents are directed toward telephone services provided to subscribers. See

 e.g. JA-CP 84 at Abstract; JA-CP 107 at Abstract. The claims and the specification are clear that

 the claimed “subscriber” is a phone service subscriber. 32 The claims and the specification also

 explain that the claimed “rule” and “instruction” are call handling rules. 33 Furthermore, these



 32
    See e.g. JA-CP 183 at 75:37-38 (“a subscriber of services offered by the call processing
 system”); JA-CP 175 at 60:27 (“The call processing system can provide telephone services.”);
 JA-CP 152 at 13:9-10 (“[T]he called party is subscribed to an Internet call answering service.”).
 33
   See e.g. JA-CP 153 at 16:47-49 (“[T]he user can specify call handling rules that determine . . .
 the call treatment for an incoming call.”); JA-CP 149 at 7:12-13 (“instructions for call
 handling”); JA-CP 183 at 75:1-2; JA-CP 177 at 64:45-45.


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 rules are stored in the call processing system’s database. 34

        CallWave also argues that it does not know how, if at all, “phone service” in Defendants’

 proposed construction differs from “services offered by the call processing system” recited in the

 claims. These two terms are used synonymously in the patents. That is, the phrase “phone

 service” is a concise and accurate description of the services offered by the call processing

 system. See e.g. JA-CP 175 at 60:27 (“The call processing system can provide telephone

 services.”). Therefore, the phrase “phone service” helps to better understand the meaning of

 “subscriber” in the claim term “subscriber specified rule.”

        CallWave complains that Defendants’ proposed construction requires the “instruction” to

 be “stored in the call processing system’s database.”           Although, as discussed above, the

 instruction typically is stored in the call processing system’s database, CallWave identifies

 claims where the instruction is stored in a “memory” or in an “account record.” CallWave

 argues based on these claims that, because the memory or the account record need not be stored

 in the call processing system’s database, the instruction need not be stored in the call processing

 system’s database.     If CallWave’s complaint is directed to Defendants’ use of the word

 “database,” there is no substantive difference between “database,” “memory,” and “account

 record” in this context. The patents refer to “account record” as “account database record” and

 the record is stored in “memory.” 35 If CallWave’s complaint is directed to Defendants’ use of

 the possessive form “the call processing system’s database” (in other words, CallWave is arguing

 that the database need not be inside the call processing system), regardless of whether the


 34
    See e.g. JA-CP 156 at 21:2-4 (“Configuration rules governing the automatic call handling
 treatment can be stored in the IAM DB subsystem 1136.”); JA-CP 172 at 54:63-67.
 35
    See JA-CP 157 at 24:10-12 (“a prior instruction from the called party stored in computer
 readable memory, such as in an account database record”); JA-CP 158 at 25:30-33 (“the user
 account database record . . . stored in computer readable memory”).


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 instruction is stored inside or outside the call processing system, the instruction must be

 accessible by the call processing system. 36 The phrase “the call processing system’s database” in

 Defendants’ proposed construction merely signifies that the database is accessible by the call

 processing system, not necessarily that the database is inside the call processing system.37

 Accordingly, Defendants’ proposed construction is consistent with the claims and the

 specification.

        CallWave’s proposed construction of “subscriber specified rule” and “subscriber

 instruction” as “a rule or instruction specified by a subscriber” merely shuffles the words in the

 disputed claim terms. This type of construction does nothing to assist in understanding these

 claim terms. See e.g. Wi-LAN, Inc. v. Acer, Inc., 712 F. Supp. 2d 549, 570 (E.D. Tex. 2010)

 (Regarding construing “clock recovery” as “recovery of the clock,” “[t]he Court finds . . . that

 Defendants merely rephrase and rearrange the terms to be construed, and such a construction is

 not helpful in this instance.”). Moreover, CallWave’s proposed construction leaves the term

 susceptible to overly broad interpretations.         For example, under CallWave’s proposed

 construction, these terms could encompass a magazine subscriber specifying an instruction for

 recurring payments. Such an interpretation goes far beyond the teachings of the CP Patents and

 the proper meaning of “subscriber” and “instruction.” Accordingly, the Court should reject

 CallWave’s overly-broad construction.


 36
    See e.g. JA-CP 177 at 63:21-25 (“[T]he softswitch . . . accesses the subscriber’s account
 configuration (e.g., . . . screening instructions . . . ).”); JA-CP 156 at 21:9-15 (“[T]he CM
 subsystem queries the SM subsystem 1122 and/or the IAM DB subsystem 1136 . . . to retrieve
 that subscriber’s call handling preference rules.”); JA-CP 149 at 7:13-17 (“One of the first things
 done by the central server 29 is to check to see if there are special instructions for handling of a
 given incoming call.”).
 37
   If the Court agrees with CallWave’s argument on this issue, then Defendants are willing to
 amend its proposed construction as follows: “a phone service subscriber’s specified call
 handling rule, stored in memory accessible by the call processing system’s database.”


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                3.      Plaintiff’s Reply Position

        The asserted claims themselves already make clear that the recited “subscriber” is either

 “a subscriber of services offered by the call processing system” (JA-CP 0183 at 75:37-38) or a

 subscriber of “a call processing system” (JA-CP 0181 at 72:11-13). Defendants agree, as they

 admit that “phone service”, which defendants seek to add, is synonymous with “services offered

 by the call processing system” 38 and is therefore redundant and confusing.             Likewise, the

 asserted claims expressly recite that either the “subscriber specified rule” is read “from computer

 readable memory” (Id. at 72:66-67), or that the “subscriber instruction” must be included in “an

 account record associated with the subscriber” (JA-CP 0183 at 75:41-43), both of which the

 Defendants now admit is synonymous with the rule or instruction being “stored in memory

 accessible by the call processing system.” As such, there is no material dispute that the express

 language of the claims already makes clear what is the scope of “subscriber” and where the

 “subscriber specified rule” or “subscriber instruction” is stored, and thus no construction as to

 these aspects is needed.

        Therefore, the only remaining dispute – which Defendants have failed to address – is why

 the “subscriber specified rule” or “subscriber instruction” must be a “call handling rule.” There

 is no support anywhere in the intrinsic record for the importation of such a limitation.

 Defendants skirt the issue by alleging that CallWave’s construction is overly broad, apparently

 seeking to import the same restrictive limitations here that they import into “call handling.” Yet

 the asserted claim language very clearly specifies the term’s metes and bounds by expressly

 requiring that a call (i.e., an “outcall” or “call”) be placed or transferred based at least in part on


 38
   Whether or not the Court decides to construe the term “call processing system,” that term need
 not be independently construed here within the context of “subscriber specified rule” or
 “subscriber instruction.”


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 the subscriber instruction/specified rule. Accordingly, no construction is needed.

                4.      Defendants’ Sur-Reply Position

        A “subscriber specified rule” must refer to a call handling rule because this functionality

 of the CPS – receipt of a forwarded call and application of a subscriber specified rule – is the

 core of the invention of the ’188 Patent. Each of the claims that recite these terms, have the CPS

 apply this rule to a forwarded call. See, e.g., JA-CP 183 at 75:36-47 (“determining if the first

 call is directed to a telephone address of a subscriber of . . . the call processing system.”).

        L.      [a / the] network

                1.      Plaintiff’s Opening Position

        Defendants propose to construe “network” to mean “switched circuit network.” The term

 “network” is readily understood and requires no specialized or limiting construction. However,

 if construction is necessary, “network” should be construed as “communication network.”

        The ’428 Patent specification discloses numerous examples of networks: Public Switched

 Telephone Network (PSTN) (JA-CP 0095 at 5:26); Local Area and Wide Area Networks (Id. at

 5:46-47); Circuit Switched and Packet Switched Telephony Networks (Id. at 6:15); IP Networks

 (Id. at 11:23); and the Internet or other computer networks (Id. at 12:47-48). The shared

 commonality between these networks is that they are all communication networks, consistent

 with CallWave’s proposed construction.

        Moreover, the claim language itself allows “network” to at least include a packet

 switched network such as a computer network or the Internet. Claim 10 of the ’428 Patent

 describes a method of processing calls, including the step of “placing a second call . . . over the

 network to a first terminal.” (JA-CP 0102 at 20:38-39.) Claim 15, which depends from claim

 10, states “wherein the first terminal is a computer.” The specification explains a computer “can

 be equipped with a Voice over Internet Protocol (VoIP) software module . . . allowing voice


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 communications to be conducted over a computer network, such as the Internet.” (JA-CP 0096

 at 7:11-15.) Thus, “the network” of claim 10 can include a packet switched network (such as the

 Internet), which would be excluded by Defendants’ proposed construction. In fact, Defendants’

 proposed construction excludes numerous types of networks explicitly disclosed by the

 specification.

                  2.    Defendants’ Answering Position

        “A network” and “the network” are terms used in the asserted claims of the ’428 and ’588

 Patents to denote the network over which calls are received, placed and screened. Defendants’

 construction of “[a / the] network” to mean “circuit-switched network” is a necessary result of

 the patentees’ disclaimer of “packet-switched network” during prosecution of the ’428 Patent’s

 parent, U.S. Patent No. 7,103,167 (“the ’167 Patent”). See supra § D (“switched network”).

        In each instance where “a network” appears in the claims of the ’428 and ’588 Patents, an

 initial call intended for a called party is received over “a network.” See e.g. JA-CP 102 at claim

 10 (“receiving over a network at a first system a first call from a caller intended for a called

 party”). The patentee did not employ ordinal descriptors, such as “a first network” in these

 claims. Instead, in each claim where “a network” appears, any subsequent use of the term is

 referenced as “the network,” thereby referring back to the network over which the initial call was

 received. See Microprocessor Enhancement Corp. v. Texas Instruments Inc., 520 F.3d 1367,

 1375 (Fed. Cir. 2008); Imperium (IP) Holdings, Inc. v. Apple Inc., No. 4:11-163, 2012 WL

 6949611, at *11 (E.D. Tex. July 2, 2012) (“As a general rule, claim terms preceded by the

 definite article, ‘the,’ refer back to a prior recitation of the same limitation . . .”), report and

 recommendation adopted as modified, No. 4:11-163, 2013 WL 322053 (E.D. Tex. Jan. 28,

 2013). Therefore, if the initial call intended for the called party is received over a circuit-

 switched network, then all other call processing and/or screening actions occurring over “the


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 network” also must occur over the circuit-switched network. The reverse is also true: if the call-

 screening step occurs over the circuit-switched network, then the initial call must have been

 received over a circuit-switched network.

        CallWave argues that Defendants’ construction cannot be correct, because claim 15

 recites “wherein the first terminal is a computer,” and that this computer could be equipped with

 VoIP software. CallWave argues, without explanation, that this requires “the network” to extend

 to packet-switched networks. There is no question that VoIP software could be used to send IP

 data—including voice— over a circuit-switched network. Ex. 3, U.S. Robotics Offers 56k VoIP

 Modem (2001). In fact, using a circuit switched connection to send IP data was the entire

 purpose of the dial-up connections that are central to CallWave’s patents. JA-CP 96 at 7:3-7

 (“The telephone line 114, can be used to establish a dial-up connection for computer terminals,

 such as terminal 110 via the computer modem, to an Internet Service Provider (ISP) offering

 dial-in remote access service connections from the PSTN 104 via trunk interface circuits 120.”)

 (emphasis added); Ex. 4, U.S. Prov. App. No. 60/127,434 at 11.

        CallWave’s proposed construction is incorrect because it would include call screening

 over a packet-switched network, a limitation specifically disavowed in the ’167 Patent

 application. See Uship Intellectual Props., LLC v. United States, 714 F.3d 1311, 1316 (Fed. Cir.

 2013) (“Even if the specification had disclosed an embodiment where a human performed the

 entirety of the validation step, prosecution disclaimer could result in that embodiment not being

 covered by the claims.”); see also supra § D. Because “network” is used consistently within

 each asserted claim, and call screening over a packet-switched network was disclaimed in the

 parent application, the Court should adopt Defendants’ construction of “[a / the] network” as

 “circuit-switched network.”




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                3.     Plaintiff’s Reply Position

        As discussed above, packet-switched networks were not disclaimed during prosecution of

 the ’167 Patent. Accordingly, neither “switched network” nor “network” are limited to circuit

 switched networks. Defendants use circular logic and generic statements in an attempt to

 improperly restrict calls to being received, placed, and screened over a circuit switched network.

 For example, Defendants state: “‘A network’ and ‘the network’ are terms used in the asserted

 claims of the ’428 and ’588 Patents to denote the network over which calls are received, placed

 and screened.” However, to the contrary, neither claim 1 nor claim 6 of the ’428 Patent contain

 the term “A network” or “the network.” Instead, these claims describe “networked computers.”

 (JA-CP 0102 at 19:18; JA-CP 0102 at 20:5-6.) Likewise, claim 42 of the ’428 Patent discusses

 receiving a call over “a communications network,” wherein the communications network is

 explicitly described as either a circuit switched network or a packet switched network. (JA-CP

 0104 at 23:46-49.)

        Finally, Defendants argue that “if the initial call intended for the called party is received

 over a circuit switched network, then all other call processing and/or screening actions occurring

 over ‘the network’ also must occur over the circuit-switched network.”           This statement is

 misleading, as none of the asserted claims in the ’428 or ’588 Patents recite receiving a call over

 “a circuit switched network.”      Instead, Defendants reach this conclusion by presuming

 “network” to be defined as “circuit switched network.” Defendants’ arguments are circular in

 nature, and rely on generic statements in an attempt to improperly apply their reasoning to all

 asserted claims of the ’428 and ’588 Patents.

        In contrast, the asserted claims and specification of the ’428 Patent clearly contemplate

 the use of packet switched networks in receiving, placing, and screening calls. Claims 1 and 6 of

 the ’428 Patent both describe “placing an outcall from the call processing system to at least one


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 destination, wherein the at least one destination is a phone.” (JA-CP 0102 at 19:31-33, 20:14-

 16.) Claims 2 and 7, which depend from Claims 1 and 6 respectively, state “the called party

 communicates with the caller using Voice over Internet Protocol (VoIP),” thus requiring use of a

 packet switched network. (JA-CP 0102 at 19:37-39 and 20:20-23.) Additionally, claims 10 and

 16 of the ’428 Patent both recite “placing a third call from the first system over the switched

 network to the second terminal.” Claims 12 and 18, which depend from claims 10 and 16

 respectively, state “the called party communicates with the caller using Voice over Internet

 Protocol (VoIP),” thus requiring use of a packet switched network.

               4.      Defendants’ Sur-Reply Position

        CallWave attempts to use different terms – “networked computer” and “communications

 network” – to argue that “[a / the] network” does not denote the network over which call

 processing and screening occurs. This makes little sense, since a “networked computer” is

 unrelated to “[a / the] network.” Further, “communications network” is a different term (for

 which construction is not sought) that appears in a claim not at issue here. CallWave also

 restates its argument that, because several dependent claims recite the use of VoIP, a packet-

 switched network is required. But, as Defendants already explained above, VoIP can operate

 over a circuit-switched network – a point not disputed by CallWave.

        Despite its hand-waving arguments, CallWave does not contest that the claims of the

 ’428 and ’588 Patent describe only a single network. That is because the term “a network” is

 always followed by use of “the network” in the claims. The necessary conclusion is that the

 network over which the initial call is received (“a network”) is the same network over which all

 subsequent calls in that claim are placed and screened (“the network”). As discussed above,

 CallWave disclaimed call screening over packet-switched networks, see supra § D, and nothing

 CallWave cites works to undo that disclaimer. To allow CallWave to recapture this claim scope


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 now contradicts the most basic principles of claim construction. See Hakim v. Cannon Avent

 Group, PLC, 479 F.3d 1313, 1317–18 (Fed. Cir. 2007) (“The doctrine of prosecution disclaimer

 is well established in Supreme Court precedent, precluding patentees from recapturing through

 claim interpretation specific meanings disclaimed during prosecution.”) (quoting Omega Eng’g,

 Inc. v. Raytek Corp., 334 F.3d 1314, 1324 (Fed. Cir. 2003)). Moreover, none of CallWave’s

 citations show anything other than the use of a circuit-switched network for the initial call (the

 call received over “a network”).

        M.      Call processing system

                1.      Plaintiff’s Opening Position

        This term comprises commonly understood words that a judge or jury can easily

 understand, and the intrinsic evidence does not specially define the term or disclaim any of its

 scope. If construed, the term should be construed as it would be understood by a person of

 ordinary skill in the art to mean “a system for processing a call or information relating to a call.”

 (Lucantoni Dec. at ¶ 37.)

        The intrinsic record supports CallWave’s construction. For example, the specification

 teaches that a “call processor system can receive an inbound call … and place an outbound call,”

 and thus process a call. (JA-CP 0107 at Abstract.) In another example, the specification

 describes that, in placing a first outcall, “the call processing system inserts the first phone

 address in a callerID field associated with signaling information associated with the first outcall,”

 thereby demonstrating that the call processing system may process information relating to a

 call. (JA-CP 0146 at 2:20-24.)

        On the other hand, Defendants’ proposed limitation that the call processing system

 “serves as the interface between the PSTN and the Internet” is incorrect because it excludes

 disclosed embodiments. Oatey Co. v. IPS Corp., 514 F.3d 1271, 1276 (Fed. Cir. 2008). For


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 example, the specification discloses numerous examples of a call processing system bridging

 calls between VoIP users, and between wireless users, none of which necessarily comprise “an

 interface between the PSTN and the Internet.” (JA-CP 0157 at 23:61-24:12, 24:21-42; JA-CP

 0168 at 45:18-38; Lucantoni Dec. at ¶¶ 42-43.) Likewise, nothing in the intrinsic record requires

 the central processing system to have a “central server that answers an incoming call.” Indeed,

 the specification expressly describes that an exemplary central processing system may comprise

 several subsystems, wherein “[o]ne or more of the foregoing subsystems can be hosted on the

 same computer system (e.g., a server), or subsystems can be hosted on separate corresponding

 computer systems,” thereby making clear that the central processing system may comprise

 multiple servers that answer incoming calls. (JA-CP 0172-73 at 54:43-55:7; Lucantoni Dec. at

 ¶¶ 38-41.)

                2.      Defendants’ Answering Position

        Defendants’ construction is correct because it is consistent with and supported by the

 intrinsic record. The specification describes a central server implementing the services provided

 by the call processing system. See e.g. JA-CP 149 at 8:10 (“[T]he central server 29 is holding

 the call.”), 8:22-24 (“The central server 29 is able to capture and store the dynamic profile of the

 subscriber’s rules for treatment of incoming calls.”). In addition, the provisional application lists

 components of the call processing system, including a central server. See Ex. 4, U.S. Prov. App.

 No. 60/127,434 at 11 (“The Central Server provides message storage, user authentication, and

 call control.”).    These descriptions are consistent with the centralized nature of the call

 processing system, which provides services, as distinguished from end-user client systems which

 receive services. Furthermore, both the claims and the specification describe the call processing




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 system as answering incoming calls. 39 The specification 40 and figures 41 (e.g., Fig. 16 of the ’188

 Patent reproduced in part below) also describe the call processing system as serving as the

 interface between the PSTN and the Internet.




        CallWave has two complaints about Defendants’ proposed construction. First, CallWave

 argues that it is “clear that the central processing system may comprise multiple servers.”

 Defendants agree. 42    But Defendants’ proposed construction is accurate because it merely

 requires “having a central server”; it does not preclude having multiple servers.           Second,

 CallWave argues that the patents disclose calls between two VoIP phones and calls between two

 wireless phones, which CallWave alleges would not require an interface between the PSTN and

 Internet. But, even if true, the specification is clear that the call processing system serves as the

 39
    See e.g. JA-CP 103 at 21:24-25 (“answering the first call . . . at the call processing system”);
 JA-CP 159 at 28:61 (“The call processing system answers the incall.”); JA-CP 173 at 55:20-21
 (“[A]fter answering a call, the call processing system plays a greeting to the caller.”); JA-CP 128
 at Fig. 19B (“IAM system 1124 answers incoming call from Calling Party 1102.”).
 40
    See e.g. JA-CP 150 at 10:1-7 (“FIG. 17 further decomposes the IAM system 1124 into its
 functional components: a Call Management (CM) subsystem 1108, which serves as the interface
 to the PSTN 1104 . . . a Router subsystem 1140, which serves as the interface to the Internet
 1106.
 41
    See e.g. JA-CP 124 at Fig. 16 (call processing system 1124 serving as an interface between
 PSTN 1104 and Internet 1106); JA-CP 127 at Fig. 19A (IAM system 1124 serving as an
 interface between PSTN 1104 and Internet 1106); JA-CP 138 at Fig. 27 (softswitch 107A
 serving as an interface between PSTN and Internet); JA-CP 110 at Fig. 1; JA-CP 112 at Fig. 3;
 JA-CP 123 at Fig. 15.
 42
    See e.g. JA-CP 148 at 5:8-9 (“the Server (or array of Servers) 29”); JA-CP 110 at Fig. 1
 (“server(s) 29”); Ex. 4, U.S. Prov. App. No. 60/127,434 at 11 (“The Central Server provides
 message storage, user authentication, and call control. This application runs on redundant
 servers at CallWave's central location.”).


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 interface between the PSTN and the Internet during the numerous calls cited above between a

 telephone on the PSTN network and a PC or VoIP phone on the Internet. See e.g. JA-CP 147-48

 at 4:58-5:19; see also JA-CP 110, 112, 123, 124, 127, 138 [Figs. 1, 3, 15, 16, 19A, 27]. For at

 least such calls, the call processing system serves an interface between the PSTN and the

 Internet, as explained above.

        CallWave’s proposal is unhelpful because it merely rearranges the words in the disputed

 claim term—“call processing system” to “a system for processing a call”—and then tacks on “or

 information relating to a call.” See Wi-LAN, 712 F. Supp. 2d at 570. This proposal does not

 clarify the meaning of “call processing system” and leaves the term overly broad. If the term

 “call processing system” simply means any system that processes calls, as CallWave proposes,

 the term would encompass even end-user telephones; as used in the CP Patents, however, the

 “call processing system” provides telephone services to end user telephones. For example,

 numerous figures illustrate the call processing system as being separate and distinct from the end

 users and their devices. See e.g. JA-CP 110, 112, 124, 127, 129, 131, 135, 138-142 [Figs. 1, 3,

 16, 19A, 20A, 21, 25A, 27-31]. 43 Accordingly, a narrower construction is necessary at least in

 order to exclude user telephones from the scope of this term.

                3.     Plaintiff’s Reply Position

        Defendants do not dispute that their proposed construction excludes numerous

 embodiments such as call processing systems that bridge calls between VoIP devices, between

 wireless devices, and/or between POTS devices – none of which necessarily comprise “an

 interface between the PSTN and the Internet.” (JA-CP 0157 at 23:61-24:12, 24:21-42; JA-CP


 43
   The call processing system in some of these figures and in the specification is referred to as or
 includes server(s), central server, IAM [Internet answering machine] system, call manager,
 softswitch, etc.


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 0168 at 45:18-38; Lucantoni Dec. at ¶¶ 42-43.) Yet Defendants inexplicably point to other

 examples in the specification which do comprise such an interface and, without basis, argue to

 require that limitation wholesale.

        In addition, Defendants admit that the central processing system may have multiple

 servers that answer incoming calls. Yet their proposed construction requires a “central server

 that answers an incoming call,” leaving unclear which of the multiple servers would comprise a

 “central” one. For example, central might refer to location; yet such a context requires a

 reference point from which to determine whether a particular server is centrally located, adding

 further subjectivity and uncertainty as to what Defendants’ construction means. Alternatively,

 central might refer to priority, e.g., a main server, which again invites confusion.

        Finally, Defendants argue that CallWave’s proposed construction is overly broad and

 might encompass “end-user client systems which receive services,” which Defendants further

 allege are distinguished from “the call processing system, which provides services.” These

 assertions have no factual basis and amount to nothing more than attorney argument. As it is

 well known that that any number of end-user devices such as personal computers, smartphones,

 or other devices can operate as a server, and hence a call processing system, Defendants’

 objections as to breadth are not persuasive. (Lucantoni Supp. Dec. at ¶ 44.)

                4.      Defendants’ Sur-Reply Position

        CallWave presents no substantive response to the arguments in favor of Defendants’

 construction. For example, characterizing a CPS as a system that serves as the interface between

 the PSTN and the Internet does not “exclude numerous embodiments” as CallWave alleges.

 Likewise, as stated in Defendants’ Response, reference to a “central” server in Defendants’

 proposed construction does not preclude having multiple servers.




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        Further, CallWave fails to explain how simply rearranging the order of the words in the

 claim phrase serves to “accord [this] claim the meaning it would have to a person of ordinary

 skill in the art at the time of the invention.” Innova, 381 F.3d at 1116. As set forth in

 Defendants’ Response, CallWave’s construction would include any system that processes calls,

 including even end-user telephones. Supra p. 74 Construing this phrase to include any system

 for processing “information relating to a call” is so broad as to literally encompass a telephone

 billing system, which is very far removed from “what the inventors actually invented and

 intended to envelop with the claim.” Renishaw PLC, 158 F.3d at 1250.

        N.      Substantially real time

                1.     Plaintiff’s Opening Position

        Defendants ask the Court to construe several different phrases containing numerous

 terms. However, the only claim language shared among all of the phrases is “substantially real

 time.” Therefore, it appears Defendants intend to construe the phrase “substantially real time.”

 This phrase is readily understood in the context of the claims and the specification and does not

 require a specialized or limiting construction. If the Court determines this phrase requires

 construction, it should be construed as “almost real time.”       This construction is expressly

 provided by the intrinsic evidence.

        The ’428 and ’588 specifications recite: “playing the transmitted speech data in

 substantially or almost real-time, before an entire speech data file of a caller’s message has been

 transmitted.” (JA-CP 0196 at 2:39-41.) Thus, the specification explicitly states substantially

 real time is synonymous with almost real time. Consistent with this definition, the ’110 and ’910

 specifications recite: “the recording can be streamed in substantially real-time or sent to the

 subscriber over the Internet within seconds after the recording has completed. Just like a home

 telephone answering machine, the subscriber can elect to interact with the caller while they are


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 still on the line or can call them back at a later time.” (JA-CP 0095 at 5:59-64.)

        Defendants propose to construe “substantially real time” to mean “transmitting speech

 data almost simultaneously as that data is being recorded.” Defendants’ proposed construction

 not only unnecessarily redefines “voice message” (’428 claims 22, 63), “voice communication”

 (’428 claim 42) and “speech” (’428 claims 1, 6) as “speech data,” but, more critically,

 Defendants’ improper construction adds the limitation of “recording” to claims which do not

 require a “recording” step. For example, ’428 claims 22, 42, and 63; ’901 claims 1 and 18; and

 ’110 claim 19 do not require a “recording” step. Thus, Defendants’ proposed construction,

 “transmitting . . . as that data is being recorded,” would impermissibly add this additional

 limitation.

        Defendants’ proposed construction is incompatible with and incomprehensible in light of

 those claims without a “recording” step. Accordingly, Defendants’ proposed construction should

 not be adopted, as it is neither consistent with nor supported by the intrinsic evidence.

                2.      Defendants’ Answering Position

        As with many of the terms that are disputed by the parties, the meaning can be discerned

 from the context in which it is used in the claim. Each of the claims employing these claim

 terms transmits voice in “substantially real-time” “so that the called party can audibly listen to

 the voice communication in substantially real time and screen the calling party’s call.” JA-CP 20

 at 8:5-8. To screen an incoming call, the called party must be able to listen to the calling party’s

 message almost simultaneously with its recording so that the called party can pick up the phone,

 or issue another call handling instruction, before the caller hangs up. Accordingly, this claim

 phrase should be construed to mean “transmitting speech data almost simultaneously as that data

 is being recorded.”

        This is consistent with the way these terms are used in the specifications. For example, a


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 leading technical dictionary defines “real time” as: A voice telephone conversation is conducted

 in real time. That is, there is no perceived delay in the transmission of the voice message or in

 the response to it.”       Newton’s Telecom Dictionary 652 (15th ed. 1999).          Likewise, the

 specifications of the relevant patents note “a communication channel is opened with the called

 party over the public Internet and speech is ‘streamed’ to the called party.” JA-CP 93 at 2:33-35.

 “With streaming, a client application executing on the called party’s computer can start playing

 the transmitted speech data in substantially or almost real-time, before an entire speech data file

 of a caller’s message has been transmitted.” Id. at 2:37-41 (emphasis added).

        Plaintiff’s proposal merely substitutes the term “substantially” with the term “almost.”

 And while Plaintiff cites much of the same evidence as Defendants, they ignore that evidence in

 an effort to maintain ambiguity, and propose a construction that fails to place any limits on what

 constitutes “real-time.”     Plaintiff also argues that the term “speech data” in Defendants’

 construction cannot be correct. But, Defendants’ proposal provides a common term for the three

 phrases “voice communication,” “speech,” and “voice message.” These quibbles cannot change

 the simple fact that Defendants’ construction is wholly consistent with the intrinsic record.

                3.      Plaintiff’s Reply Position

        Defendants admit that the meaning of this term can be discerned by its use in the claims.

 Thus, construction is not necessary; yet Defendants nonetheless seek to insert new limitations

 into the claims, by identically construing several different phrases found in four separate patents.

        The several different phrases contain terms such as “speech,” “voice message,” “voice

 communication,” and “at least a first portion of the voice communication.” Defendants propose

 to uniformly redefine these diverse terms to mean “speech data.” While Defendants argue that

 their construction “is wholly consistent with the intrinsic record,” they fail to identify any

 intrinsic evidence. Nor have Defendants put forth a single reason why construing these terms


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 and phrases is necessary. To the contrary, these terms and phrases are easily understood and

 require no specialized construction.

        Defendants also propose to construe “substantially real time” to mean “almost

 simultaneously as that data is being recorded.” As previously noted, a substantial number of

 claims affected by this proposed construction do not require “recording” any data.         Thus,

 construing “substantially real time” to include the temporal limitation of “as that data is being

 recorded” would be meaningless, or worse, import a “recording data” limitation into numerous

 claims that do not require a “recording” step.

                4.      Defendants’ Sur-Reply Position

        CallWave argues again that several of the claims reciting transmission of a voice message

 in “substantially real-time” do not require a recording, because they fail to recite an explicit

 recording step. 44   But, throughout the intrinsic record the step of recording comes before

 transmitting in real-time. See, e.g., JA-CP 0059 at 10:8-13; JA-CP 0062 at 15:14-21. This

 makes sense, because the feature proposed by the CP Patents allows voicemails to be recorded,

 and transmitted quickly enough so that a called party can screen the voicemail and make a call

 handling decision. JA-CP 0057 at 6:19-23.




 44
    CallWave is incorrect that recording could not be part of the claims at issue for this term.
 Each of the “substantially real-time” claims recites a “method comprising,” and can therefore
 include additional unrecited steps. See Invitrogen Corp. v. Biocrest Mfg., L.P., 327 F.3d 1364,
 1368 (Fed. Cir. 2003).


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                                   CERTIFICATE OF SERVICE

                 I hereby certify that on December 10, 2014, I caused the foregoing to be

 electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

 such filing to all registered participants.

                 I further certify that I caused copies of the foregoing document to be served on

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